Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 1 of 44 Page ID #:4119




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8                           UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10                                 SOUTHERN DIVISION
11

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14   JOHN C. EASTMAN,                           Case No. 8:22-cv-00099-DOC-DFM
15         Plaintiff,
16

17         vs.
18

19   BENNIE G. THOMPSON,                        ORDER RE PRIVILEGE OF
20   SELECT COMMITTEE TO                        DOCUMENTS DATED JANUARY 4-7,
21   INVESTIGATE THE JANUARY 6                  2021
22   ATTACK ON THE US CAPITOL, AND
23   CHAPMAN UNIVERSITY,
24         Defendants.
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                                          -1-
Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 2 of 44 Page ID #:4120




1

2                                                            Table of Contents
3
       BACKGROUND ...................................................................................................................... 3
4
     A. Facts ...................................................................................................................................... 3
5
       1.      Election fraud claims ........................................................................................................ 3
6
       2.      Plan to disrupt electoral count........................................................................................... 6
7
       3.      Attack on the Capitol ........................................................................................................ 8
8
       4.      Investigation into the attack ............................................................................................ 11
9    B. Procedural History .............................................................................................................. 12
10          LEGAL STANDARD ........................................................................................................ 13
11          DISCUSSION .................................................................................................................... 13
12   A. Attorney-Client Privilege ................................................................................................... 13
13     1.      Existence of attorney-client relationship ........................................................................ 14

14
       2.      Chapman University email use ....................................................................................... 15
       3.      Communications between attorney and client ................................................................ 20
15
     B. Work Product ..................................................................................................................... 21
16
       1.      Whether the remaining documents qualify for protection .............................................. 22
17
       2.      Waiver of protection ....................................................................................................... 29
18
       3.      Crime-fraud exception .................................................................................................... 30
19
       4.      Substantial or compelling need exception ...................................................................... 42
20
            DISPOSITION ................................................................................................................... 44
21

22

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                                                                          -2-
Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 3 of 44 Page ID #:4121




1            Plaintiff Dr. John Eastman (“Dr. Eastman”), a former law school dean at Chapman
2    University, is a “political conservative who supported former President [Donald] Trump” and a
3    self-described “activist law professor.” 1 While he was a professor at Chapman, Dr. Eastman
4    worked with President Trump and his campaign on legal and political strategy regarding the
5    results of the November 3, 2020 election.
6            This case concerns the House of Representatives Select Committee to Investigate the
7    January 6 Attack on the US Capitol’s (“Select Committee”) attempt to obtain emails sent or
8    received by Dr. Eastman on his Chapman email account between November 3, 2020 and
9    January 20, 2021. The parties disagree on whether the documents are privileged or if they
10   should be disclosed.
11           The Court previously ordered the parties to begin with documents from January 4-7,
12   2021. Dr. Eastman reviewed each document and claimed privilege over some, and the Select
13   Committee objected to a number of his claims. At this point, the parties disagree on whether
14   111 documents from those dates are privileged. The parties submitted briefing, and the Court
15   held a hearing on the privilege claims on March 8, 2022. The Court then personally reviewed
16   the 111 challenged documents, which were provided by Dr. Eastman.
17           BACKGROUND
18           A.      Facts 2
19                   1.        Election fraud claims
20           Dr. Eastman claims that the 2020 presidential election was “one of the most
21   controversial in American history.” 3 Despite the lack of evidence of election tampering, “a
22   significant portion of the population came to believe the election was tainted by fraud,
23   disregard of state election law, misconduct by election officials and other factors.” 4
24           In the months after the election, President Trump and Dr. Eastman helped foster those
25
     1
       Complaint (“Compl.”) (Dkt. 1) ¶¶ 5–6.
26   2
       In this discussion, the Court relies solely on facts provided by Dr. Eastman and the Select Committee in their
     briefing and attached exhibits. To the extent either party references publicly-available and authenticated
27   memoranda, government reports, and recordings, the Court takes judicial notice of those materials. See Fed. R.
     Evid. 201(b).
28   3
       Compl. ¶ 1.
     4
       Id.

                                                             -3-
Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 4 of 44 Page ID #:4122




1    public beliefs and encouraged state legislators to question the election results. Dr. Eastman
2    testified before and met with “state legislators[] to advise them of their constitutional
3    authority . . . to direct the ‘manner’ of choosing presidential electors.” 5 Relying on public
4    interviews with attendees, the Select Committee states that on January 2, 2021, President
5    Trump and Dr. Eastman hosted a briefing urging several hundred state legislators from states
6    won by President Biden to “decertify” electors. 6
7            President Trump also made personal appeals to state officials. On January 2, he called
8    Georgia Secretary of State Brad Raffensperger to discuss allegations of election fraud. 7 During
9    the call, President Trump repeatedly claimed it was impossible for him to have lost the popular
10   vote in Georgia, 8 and repeatedly mentioned his “current margin [of] only 11,779” votes. 9 He
11   explained to Secretary Raffensperger that he did not care about specific fraud numbers as long
12   as he won, “[b]ecause what’s the difference between winning the election by two votes and
13   winning it by half a million votes[?]” 10 When Secretary Raffensperger pushed back against
14   these requests, the President warned of public anger and threatened criminal consequences. 11
15   The President interspersed the conversation with specific fraud claims—dead people voting,
16   absentee ballot forgeries, trucks ferrying illegal ballots, and machines stuffed with “unvoted”
17
     5
       Declaration of John Eastman (“Eastman Decl.”) (Dkt. 132-1) ¶ 30.
18   6
       Select Committee’s Privilege Opposition (“Opp’n”) (Dkt. 164) at 7 (citing Michael Leahy, President Trump
     Joins Call Urging State Legislators to Review Evidence and Consider Decertifying ‘Unlawful’ Election Results,
19   BREITBART (Jan. 3, 2021), perma.cc/GZ8R-68EY, and Jacqueline Alemany et al., Ahead of Jan. 6, Willard Hotel
     in Downtown DC was a Trump Team ‘Command Center’ for Effort to Deny Biden the Presidency, WASH. POST
20   (Oct. 23, 2021), perma.cc/2PRC-NXKV (quoting Michigan State Senator Ed McBroom)).
     7
       Id. at 8 (citing Amy Gardner & Paulina Firozi, Here’s the full transcript and audio of the call between Trump
21
     and Raffensperger, WASH. POST (Jan. 5, 2021), perma.cc/5SMX-4FPX (“Trump-Raffensperger Call
     Transcript”)).
22   8
       Trump-Raffensperger Call Transcript (“It’s just not possible to have lost Georgia. It’s not possible.” / “There’s
23   no way I lost Georgia. There’s no way. We won by hundreds of thousands of votes.”).
     9
       Id. (“You don’t need much of a number because the number that in theory I lost by, the margin would be
24   11,779” / “the bottom line is, many, many times the 11,779 margin that they said we lost by” / “Brad, if you took
     the minimum numbers where many, many times above the 11,779, and many of those numbers are certified, or
25   they will be certified, but they are certified.” / “And those are numbers that are there, that exist. That beat the
     margin of loss, they beat it, I mean, by a lot” / “You know when you add them up, it’s many more times, it’s
26   many times the 11,779 number.”).
     10
        Id.
27   11
        Id. (“the people of Georgia are angry, the people of the country are angry. And there’s nothing wrong with
     saying that, you know, that you’ve recalculated.” / “But the ballots are corrupt. And you are going to find that
28   they are – which is totally illegal – it is more illegal for you than it is for them because, you know what they did
     and you’re not reporting it. That’s a criminal, that’s a criminal offense.”).

                                                              -4-
Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 5 of 44 Page ID #:4123




1    ballots. 12 Mr. Raffensperger debunked the allegations “point by point” and explained that “the
2    data you have is wrong;” however, President Trump still told him, “I just want to find 11,780
3    votes.” 13
4           The next day, President Trump attempted to elevate Jeffrey Clark to Acting Attorney
5    General, based on Mr. Clark’s statements that he would write a letter to contested states saying
6    that the election may have been stolen and urging them to decertify electors. 14 The White
7    House Counsel described Mr. Clark’s proposed letter as a “murder-suicide pact” that would
8    “damage everyone who touches it” and commented “we should have nothing to do with that
9    letter.” 15 President Trump eventually did not promote Mr. Clark after multiple high-ranking
10   members of the Department of Justice threatened mass resignations that would leave the
11   Department a “graveyard.” 16
12          In the months following the election, numerous credible sources–from the President’s
13   inner circle to agency leadership to statisticians–informed President Trump and Dr. Eastman
14   that there was no evidence of election fraud. One week after the election, the Cybersecurity and
15   Infrastructure Security Agency declared “[t]he November 3rd election [] the most secure in
16   American history” and found “no evidence that any voting system deleted or lost votes,
17   changed votes, or was in any way compromised.” 17 An internal Trump Campaign memo
18   concluded in November that fraud claims related to Dominion voting machines were baseless. 18
19   In early December, Attorney General Barr publicly stated there was no evidence of fraud, and
20   on December 27, Deputy Attorney General Donoghue privately told President Trump that after
21   “dozens of investigations, hundreds of interviews,” the Department of Justice had concluded
22   that “the major allegations [of election fraud] are not supported by the evidence developed.” 19
23   12
        Id.
24
     13
        Id.
     14
        Opp’n Ex. B, Richard Donoghue Deposition Transcript (“Donoghue Tr.”) (Dkt. 160-5) 124.
25
     15
        Id. at 126.
     16
        Id. at 123–26; Opp’n Ex. C, Jeffrey Rosen Deposition Transcript (“Rosen Tr.”) (Dkt. 160-6) 105–06, 118.
26   17
        Opp’n at 5 (citing Cybersecurity and Infrastructure Security Agency, Joint Statement from Elections
     Infrastructure Government Coordinating Council & The Election Infrastructure Sector Coordinating Executive
27   Committees (Nov. 12, 2020), perma.cc/NQQ9-Z7GZ).
     18
        Id. at 45 (citing Read the Trump campaign’s internal memo, N.Y. TIMES (Sept. 21, 2021), perma.cc/HE7A-
28   3D27).
     19
        Donoghue Tr. 59–60, 80.

                                                          -5-
Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 6 of 44 Page ID #:4124




1    Still, President Trump repeatedly urged that “the Department [of Justice] should publicly say
2    that the election is corrupt or suspect or not reliable.” 20
3           By early January, more than sixty court cases alleging fraud had been dismissed for lack
4    of evidence or lack of standing. 21
5                   2.      Plan to disrupt electoral count
6           In response to alleged fraud, Dr. Eastman researched and planned a strategy for
7    President Trump to win the election. Just after Christmas, Dr. Eastman wrote a now-public two-
8    page memo proposing that Vice President Pence refuse to count certified electoral votes from
9    states contested by the Trump campaign: Arizona, Georgia, Michigan, Nevada, New Mexico,
10   Pennsylvania, and Wisconsin. 22 The memo outlines the two ways in which Dr. Eastman’s plan
11   ensures “President Trump is re-elected.” 23 If Vice President Pence refused to count electoral
12   votes from all seven contested states, President Trump would win 232 votes to 222. 24
13   Alternatively, if Congress claimed that a candidate could not win without reaching 270 votes,
14   Vice President Pence could send the election to the Republican-majority House of
15   Representatives, which would then elect President Trump. 25 The memo emphasizes that “[t]he
16   main thing here is that Pence should do this without asking for permission – either from a vote
17   of the joint session or from the Court.” 26
18          On January 3, 2021, Dr. Eastman drafted a six-page memo expanding on his plan and
19   analysis, 27 which he later disclosed to the media. 28 This memo “war gam[ed]” four potential
20   scenarios for January 6, only some of which would lead to President Trump winning re-
21   election. 29 Claiming that “[t]he stakes could not be higher,” Dr. Eastman concludes his memo
22   20
        Id. at 59.
23
     21
        Opp’n at 45 (citing William Cummings, Joey Garrison & Jim Sergent, By the numbers: President Donald
     Trump’s failed efforts to overturn the election, USA TODAY (Jan. 6, 2021), perma.cc/683S-HSRC).
24
     22
        Opp’n at 9 (citing READ Trump lawyer’s memo on six-step plan for Pence to overturn the election, CNN (Sept.
     21, 2021), perma.cc/LP48-JRAF (“Eastman Short Memo”)).
25
     23
        Eastman Short Memo at 2.
     24
        Id.
26   25
        Id.
     26
        Id.
27   27
        Opp’n at 9 (citing Jan. 3 Memo on Jan. 6 Scenario, CNN, perma.cc/B8XQ-4T3Z (“Eastman Long Memo”)).
     28
        Id. at 9 n.27 (citing Jeremy Herb (@jeremyherb), TWITTER (Sept. 21, 2021, 5:46 PM), perma.cc/GX4R-MK9B
28   (explaining that Dr. Eastman gave the six-page memo to a CNN reporter)).
     29
        See generally Eastman Long Memo.

                                                          -6-
Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 7 of 44 Page ID #:4125




1    stating that his plan is “BOLD, Certainly. But this Election was Stolen by a strategic Democrat
2    plan to systematically flout existing election laws for partisan advantage; we’re no longer
3    playing by Queensbury Rules.” 30
4           On January 4, President Trump and Dr. Eastman invited Vice President Pence, the Vice
5    President’s counsel Greg Jacob, and the Vice President’s Chief of Staff Marc Short to the Oval
6    Office to discuss Dr. Eastman’s memo. 31 Dr. Eastman presented only two courses of action for
7    the Vice President on January 6: to reject electors or delay the count. 32 During that meeting,
8    Vice President Pence consistently held that he did not possess the authority to carry out Dr.
9    Eastman’s proposal. 33
10          The Vice President’s counsel and chief of staff were then directed to meet separately
11   with Dr. Eastman the next day to review materials in support of his plan. Dr. Eastman opened
12   the meeting on January 5 bluntly: “I’m here asking you to reject the electors.” 34 Vice
13   President’s counsel Greg Jacob and Dr. Eastman spent the majority of the meeting in a Socratic
14   debate on the merits of the memo’s legal arguments. 35 Over the course of their discussion, Dr.
15   Eastman’s focus pivoted from requesting Vice President Pence reject the electors to asking him
16   to delay the count, which he presented as more “palatable.” 36 Ultimately, Dr. Eastman
17   conceded that his argument was contrary to consistent historical practice, 37 would likely be
18   unanimously rejected by the Supreme Court, 38 and violated the Electoral Count Act on four
19   separate grounds. 39
20          Despite receiving pushback, President Trump and Dr. Eastman continued to urge Vice
21   President Pence to carry out the plan. At 1:00 am on January 6, President Trump tweeted, “If
22   30
        Id. at 5.
     31
        Opp’n Ex. F, Greg Jacob Deposition Transcript (“Jacob Tr.”) (Dkt. 160-8) 82.
23   32
        Id. at 89.
24
     33
        Id. at 95 (“from my very first conversation with the Vice President on the subject, his immediate instinct
     was that there is no way that one person could be entrusted by the Framers to exercise that authority. And
25   never once did I see him budge from that view . . . So everything that he said or did during that meeting was
     consistent with his first instincts on this question.”).
26   34
        Id. at 92.
     35
        Id. at 96.
27   36
        Id.
     37
        Id. at 109.
28   38
        Id. at 110.
     39
        Id. at 128.

                                                          -7-
Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 8 of 44 Page ID #:4126




1    Vice President @Mike_Pence comes through for us, we will win the Presidency . . . Mike can
2    send it back!” 40At 8:17 a.m., the President tweeted again, “States want to correct their votes . . .
3    All Mike Pence has to do is send them back to the States, AND WE WIN. Do it Mike, this is a
4    time for extreme courage!” 41
5           Following his tweets, President Trump placed two calls to Vice President Pence directly.
6    After not being able to connect with the Vice President around 9:00 am, they spoke at
7    approximately 11:20 am. 42 Vice President Pence’s National Security Advisor, General Keith
8    Kellogg, Jr., was present and described President Trump as berating the Vice President for “not
9    [being] tough enough to make the call” to delay or reject electoral votes. 43
10                  3.      Attack on the Capitol
11          On January 6, 2021, tens of thousands of people gathered outside the White House to
12   protest the lawful transition of power from President Trump to President Joseph Biden. Both
13   Dr. Eastman and President Trump gave speeches to relay the plan not just to the thousands
14   gathered at the Ellipse but also to those watching at home.
15          President Trump’s personal attorney, Rudy Giuliani, introduced Dr. Eastman before he
16   spoke as the “professor” who would “explain . . . what happened last night, how they cheated,
17   and how it was exactly the same as what they did on November 3.” 44 Dr. Eastman declared to
18   the crowd:
19          And all we are demanding of Vice President Pence is this afternoon at 1:00 he let the legislators of the
            state look into this so we get to the bottom of it, and the American people know whether we have control
20          of the direction of our government, or not. We no longer live in a self-governing republic if we can’t get
            the answer to this question. This is bigger than President Trump. It is a very essence of our republican
21          form of government, and it has to be done. And anybody that is not willing to stand up to do it, does not
            deserve to be in the office. It is that simple.45
22

23
     40
        Opp’n at 10 (quoting Donald J. Trump (@realDonaldTrump), TWITTER (Jan. 6, 2021, 1:00 AM),
     perma.cc/9EV8-XJ7K).
24
     41
        Id. at 11 (quoting Donald J. Trump (@realDonaldTrump), TWITTER (Jan. 6, 2021, 8:17 AM), perma.cc/2J3P-
     VDBV).
25
     42
        Opp’n Ex. H (“POTUS Private Schedule”) (Dkt. 160-10) (notes on President’s private schedule show call with
     VPOTUS at 11:20 AM) (cited in Opp’n at 11 n.36); see also Opp’n Ex. I, Marc Short Deposition Transcript
26   (“Short Tr.”) (Dkt. 160-11) 16; Jacob Tr. 168.
     43
        Opp’n Ex. G, Keith Kellogg, Jr. Deposition Transcript (“Kellogg Tr.”) (Dkt. 160-9) 87, 90–92.
27   44
        See Opp’n at 12 (citing Rudy Giuliani, Speech to the “Save America March” and Rally (Jan. 6, 2021),
     perma.cc/4NKM-24AZ (“Giuliani Speech”)).
28   45
        See Opp’n at 12 (quoting John Eastman, Speech to the “Save America March” and Rally, C-SPAN (Jan. 6,
     2021), perma.cc/3C8Y-GRK3 (“Eastman Speech”)).

                                                            -8-
Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 9 of 44 Page ID #:4127




1           President Trump then took the podium. He began with praise for Dr. Eastman and his
2    plan to have Vice President Pence disrupt the count:
3           Thank you very much, John. . . . John is one of the most brilliant lawyers in the country, and he looked at
            this and he said, “What an absolute disgrace that this can be happening to our Constitution.” . . . Because
4           if Mike Pence does the right thing, we win the election. All he has to do, all this is, this is from the
            number one, or certainly one of the top, Constitutional lawyers in our country. He has the absolute right
5           to do it. 46
6           Before the Joint Session of Congress began, Vice President Pence publicly rejected
7    President Trump and Dr. Eastman’s plan: “It is my considered judgment that my oath to
8    support and defend the Constitution constrains me from claiming unilateral authority to
9    determine which electoral votes should be counted and which should not.” 47
10          At 1:00 pm, members of Congress began the Joint Session as required by the Twelfth
11   Amendment and the Electoral Count Act.
12          Soon after, President Trump finished his speech by urging his supporters to walk with
13   him to the Capitol:
14          Now, it is up to Congress to confront this egregious assault on our democracy. And after this, we’re
            going to walk down, and I’ll be there with you, we’re going to walk down, we’re going to walk
15          down. . . . [W]e’re going to try and give our Republicans, the weak ones because the strong ones don’t
            need any of our help. We’re going to try and give them the kind of pride and boldness that they need to
16          take back our country. So let’s walk down Pennsylvania Avenue. 48
17   After President Trump’s speech, several hundred protesters left the rally and stormed the
18   Capitol building. As the D.C. Circuit described it:
19          Shortly after the speech, a large crowd of President Trump’s supporters—including some armed with
            weapons and wearing full tactical gear—marched to the Capitol and violently broke into the building to
20          try and prevent Congress’s certification of the election results. The mob quickly overwhelmed law
            enforcement and scaled walls, smashed through barricades, and shattered windows to gain access to the
21          interior of the Capitol. Police officers were attacked with chemical agents, beaten with flag poles and
            frozen water bottles, and crushed between doors and throngs of rioters. 49
22

23   46
        Id. at 11 (citing Donald J. Trump, President, Speech to the “Save America March” and Rally (Jan. 6, 2021),
24   perma.cc/2YNN-9JR3 (“Trump Speech Transcript”)).
     47
        Id. at 40 (citing Public Letter from Michael R. Pence to Congress (Jan. 6, 2021), perma.cc/Y9BG-JFMJ (“Pence
25   Letter”)).
     48
        Trump Speech Transcript.
26   49
        Trump v. Thompson, 20 F.4th 10, 15–16 (D.C. Cir. 2021), cert. denied, No. 21-932, 2022 WL 516395 (U.S.
     Feb. 22, 2022) (citing STAFF REP. OF S. COMM. ON HOMELAND SECURITY & GOVERNMENTAL AFFS. & S. COMM.
27   ON RULES & ADMIN., 117TH CONG., EXAMINING THE U.S. CAPITOL ATTACK: A REVIEW OF THE SECURITY,
     PLANNING, AND RESPONSE FAILURES ON JANUARY 6, at 23–29 (June 8, 2021) (“Capitol Attack Senate Report”),
28   and Hearing on the Law Enforcement Experience on January 6th Before the H. Select Comm. to Investigate the
     January 6th Attack on the U.S. Capitol, 117th Cong., at 2 (July 27, 2021)).

                                                            -9-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 10 of 44 Page ID
                                      #:4128



1           President Trump returned to the White House after his speech. At 2:02 pm, Mark
2    Meadows, the White House Chief of Staff, was informed about the violence unfolding at the
3    Capitol. 50 Mr. Meadows immediately went to relay that message to President Trump. 51 Even as
4    the rioters continued to break into the Capitol, President Trump tweeted at 2:24 pm: “Mike
5    Pence didn’t have the courage to do what should have been done to protect our Country and our
6    Constitution, giving States a chance to certify a corrected set of facts, not the fraudulent or
7    inaccurate ones which they were asked to previously certify. USA demands the truth!” 52
8           During the riot, Vice President Pence, Members of Congress, and workers across the
9    Capitol were forced to flee for safety. 53 Seeking shelter during the attack, Vice President
10   Pence’s counsel Greg Jacob emailed Dr. Eastman that the rioters “believed with all their hearts
11   the theory they were sold about the powers that could legitimately be exercised at the Capitol
12   on this day.” 54 Mr. Jacob continued, “[a]nd thanks to your bullshit, we are now under siege.” 55
13          President Trump later published a video expressing support for the rioters but urging
14   them to leave the Capitol: “We love you, you’re very special. You’ve seen what happens, you
15   see the way others are treated that are so bad and so evil. I know how you feel.” 56 At 6:00 pm,
16   President Trump reiterated: “These are the things and events that happen when a sacred
17   landslide election victory is so unceremoniously & viciously stripped away from great patriots
18   who have been badly & unfairly treated for so long. Go home with love & in peace. Remember
19   this day forever!” 57
20          As the attack progressed, Dr. Eastman continued to urge Vice President Pence to
21   reconsider his decision not to delay the count. In an email to Vice President Pence’s counsel
22   Greg Jacob at 2:25 pm on January 6, Dr. Eastman wrote: “The ‘siege’ is because YOU and
23   50
        Opp’n Ex. J, Benjamin Williamson Deposition Transcript (“Williamson Tr.”) (Dkt. 160-12) 62.
24
     51
        Id. at 65.
     52
        Opp’n at 12 (quoting Donald J. Trump (@realDonaldTrump), TWITTER (Jan. 6, 2021, 2:24 pm),
25   perma.cc/Z9Q5-EANU).
     53
        Thompson, 20 F.4th at 15–16.
26   54
        Opp’n Ex. N (Dkt. 160-16), Email from Greg Jacob to John Eastman (Jan. 6, 2021, 1:05 pm).
     55
        Id., Email from Greg Jacob to John Eastman (Jan. 6, 2021, 2:14 pm).
27   56
        Opp’n at 15 (quoting Donald J. Trump, President, Video Statement on Capitol Protesters (Jan. 6, 2021),
     perma.cc/7WF3-QSV8).
28   57
        Id. at 15 (quoting Donald J. Trump (@realDonaldTrump), TWITTER (Jan. 6, 2021, 6:01 pm), perma.cc/J5WJ-
     X2V4).

                                                         -10-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 11 of 44 Page ID
                                      #:4129



1    your boss did not do what was necessary to allow this to be aired in a public way so the
2    American people can see for themselves what happened.” 58 At 6:09 pm, Dr. Eastman
3    “remain[ed] of the view” that “adjourn[ing] to allow the state legislatures to continue their
4    work” was the “most prudent course.” 59 At 11:44 pm, Dr. Eastman sent one final email to
5    persuade Jacob to change his mind: “I implore you to consider one more relatively minor
6    violation and adjourn for 10 days . . . .” 60
7           After the riot had subsided, the Joint Session of Congress reconvened. “It was not until
8    3:42 a.m. on January 7 that Congress officially certified Joseph Biden as the winner of the 2020
9    presidential election.” 61
10          The rampage on January 6 “left multiple people dead, injured more than 140 people, and
11   inflicted millions of dollars in damage to the Capitol.” 62 As the House of Representatives later
12   wrote, January 6, 2021 was “one of the darkest days of our democracy.” 63
13                  4.      Investigation into the attack
14          In response to the attack, the House of Representatives created the Select Committee to
15   “investigate and report upon the facts, circumstances, and causes relating to the January 6,
16   2021, domestic terrorist attack upon the United States Capitol Complex . . . and relating to the
17   interference with the peaceful transfer of power.” 64
18          On November 8, 2021, the Select Committee issued a subpoena to Dr. Eastman. 65 In the
19   accompanying cover letter, Chairman Thompson stated that Dr. Eastman was “instrumental in
20   advising President Trump that Vice President Pence could determine which electors were
21   recognized on January 6, a view that many of those who attacked the Capitol apparently also
22

23   58
        Opp’n Ex. N (Dkt. 160-16), Email from John Eastman to Greg Jacob (Jan. 6, 2021, 2:25 pm EST)
24   (capitalization in original).
     59
        Id., Email from John Eastman to Greg Jacob (Jan. 6, 2021, 6:09 pm EST).
25
     60
        Id., Email from John Eastman to Greg Jacob (Jan. 6, 2021, 11:44 pm EST (converting from MST)).
     61
        Thompson, 20 F.4th at 18 (citing Capitol Attack Senate Report at 26).
26   62
        Id. at 15–16.
     63
        H.R. Res. 503, 117th Cong. (2021), Preamble.
27   64
        Id. § 3(2).
     65
        Opposition to App. for Temporary Restraining Order (“TRO Opp’n”) (Dkt. 23) (citing Nov. 8, 2021 Select
28   Committee Cover Letter to John Eastman (“Subpoena Cover Letter”),
     January6th.house.gov/sites/democrats.january6th.house.gov/files/20211108%20Eastman.pdf).

                                                          -11-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 12 of 44 Page ID
                                      #:4130



1    shared.” 66
2           Dr. Eastman declined to produce any documents or communications to the Select
3    Committee and asserted his Fifth Amendment privilege against production. 67 During his
4    deposition, Dr. Eastman asserted his Fifth Amendment privilege 146 times. 68
5           The Select Committee subsequently issued a subpoena to obtain Dr. Eastman’s
6    communications from his former employer, Chapman University on January 18, 2022. The
7    subpoena ordered Chapman to produce Dr. Eastman’s documents stored on Chapman’s servers
8    “that are related in any way to the 2020 election or the January 6, 2021 Joint Session of
9    Congress, . . . during the time period November 3, 2020 to January 20, 2021.” 69 Chapman
10   initially collected over 30,000 responsive documents. The Select Committee then worked with
11   Chapman to tailor search terms, resulting in just under 19,000 responsive documents.
12          B.      Procedural History
13          Dr. Eastman filed his Complaint in this Court on January 20, 2022, and immediately
14   filed an Application for a Temporary Restraining Order to prevent Chapman University from
15   complying with the Select Committee’s subpoena. On the same day, the Court granted a
16   temporary restraining order (Dkt. 12). After briefing from the parties and a hearing, the Court
17   denied Dr. Eastman’s application for a preliminary injunction (Dkt. 41). The Court ordered Dr.
18   Eastman to begin reviewing the documents and producing a privilege log to the Court and the
19   Select Committee (Dkt. 43).
20          On January 31, 2022, given the urgency of the investigation and the lack of prejudice to
21   Dr. Eastman, the Court granted the Select Committee’s request and ordered Dr. Eastman to
22   begin his production with documents dated between January 4 and January 7, 2021 (Dkt. 63).
23   On February 14, 2022, the Court set a briefing and hearing schedule as to the January 4-7
24   documents (Dkt. 104).
25          On February 22, 2022, Dr. Eastman filed his brief supporting his privilege assertions
26

27   66
        Subpoena Cover Letter at 3.
     67
        Opp’n at 17.
28   68
        See generally Opp’n Ex. A, John Eastman Deposition Transcript (“Eastman Tr.”) (Dkt. 160-4).
     69
        Id.

                                                          -12-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 13 of 44 Page ID
                                      #:4131



1    (“Brief”) (Dkt. 144). The Select Committee filed its opposition (“Opp’n”) (Dkt. 164) on March
2    2, 2022. Dr. Eastman filed his Reply on March 7, 2022 (Dkt. 185). The Court heard oral
3    arguments on March 8, 2022.
4            LEGAL STANDARD
5            Federal common law governs the attorney-client privilege when courts adjudicate issues
6    of federal law. 70 “As with all evidentiary privileges, the burden of proving that the attorney-
7    client privilege applies rests not with the party contesting the privilege, but with the party
8    asserting it.” 71 The “party asserting the attorney-client privilege has the burden of establishing
9    the relationship and the privileged nature of the communication.” 72 The party must assert the
10   privilege “as to each record sought to allow the court to rule with specificity.” 73 It is “extremely
11   disfavored” when a “subpoena [i]s met by blanket assertions of privilege.” 74 “Because it
12   impedes full and free discovery of the truth, the attorney-client privilege is strictly construed.” 75
13   The same burden applies to the party asserting work product protection. 76
14           DISCUSSION
15           The Court will first consider Dr. Eastman’s assertions of attorney-client privilege, then
16   his assertions of work product protection. For each category, the Court will examine whether
17   the privilege attached in the first place, whether it was waived, and whether an exception
18   applies.
19           A.      Attorney-Client Privilege
20           The attorney-client privilege protects confidential communications between attorneys
21   and clients for the purpose of legal advice. 77 The privilege “is intended ‘to encourage clients to
22   make full disclosure to their attorneys,’” recognizing that sound advice depends on
23   transparency. 78
24
     70
        United States v. Ruehle, 583 F.3d 600, 608 (9th Cir. 2009).
25
     71
        Weil v. Inv./Indicators, Rsch. & Mgmt., Inc., 647 F.2d 18, 25 (9th Cir. 1981) (citations omitted).
     72
        Ruehle, 583 F.3d at 607 (citation omitted) (emphasis in original).
26   73
        Clarke v. Am. Com. Nat. Bank, 974 F.2d 127, 129 (9th Cir. 1992).
     74
        In re Grand Jury Witness, 695 F.2d 359, 362 (9th Cir. 1982).
27   75
        United States v. Martin, 278 F.3d 988, 999 (9th Cir. 2002).
     76
        See Hernandez v. Tanninen, 604 F.3d 1095, 1102 (9th Cir. 2010).
28   77
        Upjohn Co. v. United States, 449 U.S. 383, 389 (1981).
     78
        Hernandez, 604 F.3d at 1100 (quoting Upjohn, 449 U.S. at 389).

                                                             -13-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 14 of 44 Page ID
                                      #:4132



1           Whether a communication or document is covered by the attorney-client privilege is
2    determined by an eight-part test:
3           (1) Where legal advice of any kind is sought (2) from a professional legal adviser in his capacity as such,
            (3) the communications relating to that purpose, (4) made in confidence (5) by the client, (6) are at his
4           instance permanently protected (7) from disclosure by himself or by the legal adviser, (8) unless the
            protection be waived. 79
5

6    “The party asserting the privilege bears the burden of proving each essential element.” 80
7           Dr. Eastman claims attorney-client privilege over nine out of the total 111 documents. 81
8    The Court now examines whether an attorney-client relationship existed between President
9    Trump and Dr. Eastman; whether Dr. Eastman’s use of Chapman University email destroyed or
10   waived confidentiality; and whether the emails were between an attorney, client, or their agents.
11                  1.      Existence of attorney-client relationship
12          The Select Committee argues that Dr. Eastman has not met his burden of proving that an
13   attorney-client relationship existed between him and President Trump. 82 An attorney-client
14   relationship is formed when an attorney advises a client who has consulted him seeking legal
15   assistance. 83 Attorney-client relationships may be express or implied. 84 Among other factors,
16   courts consider “the intent and conduct of the parties” 85 and “whether the client believed an
17   attorney-client relationship existed.” 86
18          In response to the Court’s request for evidence of an attorney-client relationship, Dr.
19   Eastman provided only an unsigned, undated retainer agreement between him, President Trump
20   as candidate, and President Trump’s campaign committee. 87 However, strong evidence
21   establishes that Dr. Eastman had an attorney-client relationship with President Trump and his
22   campaign between January 4 and 6, 2021. Dr. Eastman appeared on behalf of President Trump
23

24
     79
        United States v. Graf, 610 F.3d 1148, 1156 (9th Cir. 2010) (citation omitted).
     80
        Id.
25
     81
        4708; 4713; 4722; 4723; 4744 (duplicate); 4745 (duplicate); 4766 (duplicate); 4767 (duplicate); 4788.
     82
        Opp’n at 20–21.
26   83
        Waggoner v. Snow, Becker, Kroll, Klaris & Krauss, 991 F.2d 1501, 1505 (9th Cir. 1993) (citations omitted).
     84
        In re Johore Inv. Co. (U.S.A.), Inc., 157 B.R. 671, 676 (D. Haw. 1985).
27   85
        Waggoner, 991 F.2d at 1505.
     86
        Boskoff v. Yano, 57 F. Supp. 2d 994, 998 (D. Haw. 1998) (quoting Waggoner, 991 F.2d at 1505, and Research
28   Corp. Tech., Inc. v. Hewlett-Packard Co., 936 F. Supp. 697, 700 (D. Ariz. 1996)).
     87
        Eastman Decl., Ex. A (“Retainer Agreement”) (Dkt. 132-2).

                                                            -14-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 15 of 44 Page ID
                                      #:4133



1    in a Georgia lawsuit on January 5, 2021. 88 In the days leading up to January 6, Dr. Eastman
2    also attended closed-door meetings with and on behalf of President Trump to present his legal
3    theories on the Electoral Count Act. The Vice President’s counsel, who attended those
4    meetings, “assumed it to be true for the purposes of [his] interactions with him” that Dr.
5    Eastman was representing President Trump. 89 President Trump’s speech explicitly
6    acknowledged Dr. Eastman’s legal role in developing the plan to delay or stop the count: “John
7    is one of the most brilliant lawyers in the country, and he looked at this and he said, ‘What an
8    absolute disgrace that this can be happening to our Constitution.’” 90 And on May 5, 2021, Dr.
9    Eastman stated on a talk show that President Trump was his client in the aftermath of the
10   election. 91 The evidence clearly supports an attorney-client relationship between President
11   Trump, his campaign, and Dr. Eastman during January 4-7, 2021.
12                   2.      Chapman University email use
13           Communications between an attorney and a client are only privileged if they are
14   intended to be kept confidential and are not disclosed. 92 Dr. Eastman used his Chapman
15   University email to communicate with legal clients that he represented outside of his university
16   activities. The Select Committee argues that Dr. Eastman’s use of his Chapman email prevents
17   all of his communications from being privileged given the university’s monitoring policies. 93
18   Although the Select Committee argued at the hearing that use of Chapman email destroys
19   privilege for all 111 documents, their confidentiality argument is only relevant to attorney-
20   client privilege and therefore applies only to nine documents. 94 The Court examines how using
21   Chapman email affects the other documents when it reaches work product protection below. 95
22   88
        Reply at 8 (citing Application for Admission of Jonathan Eastman Pro Hac Vice, Trump v. Kemp, No. 1:20-cv-
23   05310 (N.D. Ga. Dec. 31, 2020), ECF No. 17).
     89
        Jacob Tr. 106–07.
24
     90
        Trump Speech Transcript.
     91
        Opp’n at 29 (quoting Peter Boyles Show, 710KNUS NEWS/TALK (May 5, 2021, 8:00 AM), perma.cc/Q6YE-
25   KD5F) (“I have express authorization from my client, the President of the United States at the time, to describe
     what occurred—to truthfully describe what occurred in that conversation.”).
26   92
        Graf, 610 F.3d at 1156.
     93
        Opp’n at 24.
27   94
        Unlike in the attorney-client privilege context, “the overriding concern in the work-product context is not the
     confidentiality of a communication, but the protection of the adversary process.” United States v. Sanmina Corp.,
28   968 F.3d 1107, 1124 (9th Cir. 2020).
     95
        See supra Section III.B.2, Waiver of protection.

                                                            -15-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 16 of 44 Page ID
                                      #:4134



1            The Court notes that this is not a question of whether an employee can use a work
2    computer for purely personal use. The questions here are whether to penalize clients of law
3    professors for not understanding university email policies, and how professors should navigate
4    mixed signals about what legal work is allowed as part of their academic jobs.
5            Accordingly, the Court analyzes below whether Dr. Eastman’s clients expected their
6    emails to be confidential, discusses Chapman’s email rules, and considers public policy
7    concerns. The Court finds that using Chapman email did not destroy attorney-client privilege.
8                                      Client expectations of confidentiality
9            The Select Committee’s argument rests on Dr. Eastman lacking a reasonable expectation
10   of confidentiality in his emails. Dr. Eastman argues that he and his clients reasonably expected
11   privacy, particularly since representing clients was part of his duties as a professor. 96
12           Although the Ninth Circuit has not explicitly ruled on the issue, the majority of other
13   circuits consider “whether the client reasonably understood the [conversation] to be
14   confidential” in determining whether communications are privileged. 97 Determining the client’s
15   intent hinges on the circumstances of the communication, such as whether disclosure to third
16   parties was intended or considered. 98
17           Here, Dr. Eastman represented clients while employed as a law professor at Chapman
18   University, and he used his official university email to communicate with those clients. When
19   President Trump and members of his campaign referenced Dr. Eastman in public, they
20   frequently highlighted his position as a law professor. 99 Since Dr. Eastman’s work for President
21   Trump was tied to his position as a “preeminent constitutional scholar[],” it would be logical
22

23   96
        Brief at 26, 29.
24
     97
        Kevlik v. Goldstein, 724 F.2d 844, 849 (1st Cir. 1984) (quoting MCCORMICK ON EVIDENCE, § 91 at 189 (1972)
     (emphasis added)); United States v. Schaltenbrand, 930 F.2d 1554, 1562 (11th Cir. 1991) (same). See also United
25   States v. BDO Seidman, 337 F.3d 802, 812 (7th Cir. 2003); United States v. Moscony, 927 F.2d 742, 751–52 (3rd
     Cir. 1991); United States v. Schwimmer, 892 F.2d 237, 244 (2d Cir. 1989); United States v. (Under Seal), 748
26   F.2d 871, 875 (4th Cir. 1984); United States v. Pipkins, 528 F.2d 559, 563 (5th Cir. 1976).
     98
        In re LTV Sec. Litig., 89 F.R.D. 595, 603–04 (N.D. Tex. 1981) (citing Pipkins, 528 F.2d at 563).
27   99
        E.g., Giuliani Speech (“I have Professor Eastman here with me to say a few words about that. He’s one of the
     preeminent constitutional scholars in the United States.”); Trump Speech Transcript (“John is one of the most
28   brilliant lawyers in the country . . . this is from the number one, or certainly one of the top, Constitutional lawyers
     in our country . . .”).

                                                              -16-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 17 of 44 Page ID
                                      #:4135



1    for his clients to communicate with him through his university email. 100 Moreover, it is clear
2    from reviewing the emails that Dr. Eastman’s correspondents believed they were using an
3    appropriate email address to discuss confidential legal matters. 101 In these circumstances,
4    clients and their agents who communicated with Dr. Eastman on his Chapman University email
5    address had a reasonable expectation of privacy in their communications.
6                                   Potentially unauthorized use of Chapman email
7           Chapman University argues that Dr. Eastman’s representation of President Trump was
8    unauthorized based on Chapman’s policies and IRS rules, 102 which the Select Committee
9    argues waives any privilege. 103
10          Although there are no Ninth Circuit cases addressing this kind of attorney waiver, courts
11   in other jurisdictions have analyzed a client’s use of monitored employer email. The Court will
12   follow those other district courts in considering four factors:
13          (1) does the corporation maintain a policy banning personal or other objectionable use,
            (2) does the company monitor the use of the employee’s computer or e-mail,
14          (3) do third parties have a right of access to the computer or e-mails, and
            (4) did the corporation notify the employee, or was the employee aware, of the use and monitoring
15          policies? 104
16          First, Chapman University maintains a policy banning some objectionable uses of
17   university email. Its policy states in pertinent part:
18          Except as authorized, in writing or by e-mail, by the University, users are not to use Chapman
            Information Resources for compensated outside work, the benefit of organizations not related to the
19          University (except in connection with scholarly, creative or community service activities), or commercial
            or personal advertising. 105
20

21   The policy does not clearly apply to Dr. Eastman’s work for President Trump, as it was
22   uncompensated 106 and Dr. Eastman contends that it was “in connection with scholarly
23

24
     100
         Giuliani Speech.
     101
         See, e.g., 4708 (including “PRIVILEGED AND CONFIDENTIAL” in email text).
25
     102
         Chapman University’s Response to Plaintiff’s Application for Temporary Restraining Order (Dkt. 17) at 4.
     103
         Opp’n at 27–28.
26   104
         Doe 1 v. George Washington Univ., 480 F. Supp. 3d 224, 226 (D.D.C. 2020) (quoting In re Asia Glob.
     Crossing, Ltd., 322 B.R. 247, 257 (Bankr. S.D.N.Y. 2005)).
27   105
         Decl. of Janine DuMontelle (“DuMontelle Decl.”) (Dkt. 17-1) ¶ 5 (quoting Computer and Network Acceptable
     Use Policy, CHAPMAN UNIV., www.chapman.edu/campus-services/information-systems/policies-and-
28   procedures/acceptable-use-policy.aspx).
     106
         Retainer Agreement at 2.

                                                           -17-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 18 of 44 Page ID
                                      #:4136



1    [activities]” given his election law focus. In fact, Dr. Eastman’s prior work on the 2000 election
2    was considered “scholarly” by Chapman’s Rank and Tenure Committee, which noted Dr.
3    Eastman’s “status as one of a very few law professors viewed as expert in the area of election
4    law.” 107 The Tenure Committee further stated that “[i]t was in the Law School’s interest that
5    Professor Eastman pursue this opportunity to the fullest.” 108
6            Moreover, Chapman blurred the lines between authorized and unauthorized work in
7    practice. Dr. Eastman describes a 2020 meeting with the then-Dean of Chapman’s law school
8    about a proposed post-election filing on behalf of President Trump. 109 According to Dr.
9    Eastman, the Dean requested that he remove the “c/o Chapman University” line from his
10   signature block on the brief, but did not ask him to remove Chapman’s address or Dr.
11   Eastman’s university email or phone number. 110 Critically, the Dean did not express any
12   concerns about Dr. Eastman filing the brief on behalf of President Trump or using Chapman
13   email for his representation, and did not raise any of the claims of unauthorized use that
14   Chapman now asserts in this case.
15           IRS rules prohibit faculty from using university resources to support political
16   candidates, 111 which Chapman’s President publicly reiterated in the context of Dr. Eastman’s
17   work on December 10, 2020. 112 But as Dr. Eastman notes, the IRS prohibits “[c]ontributions to
18   political campaign funds or public statements . . . in favor of or in opposition to any candidate
19   for public office,” but does not mention post-election litigation for campaigns. 113 Chapman’s
20   endorsement of Dr. Eastman’s 2000 post-election litigation and the lack of IRS enforcement
21   against other law professors representing candidates in post-election litigation 114 suggest that
22   107
         Eastman Decl. ¶ 5.
23
     108
         Id.
     109
         Eastman Decl. ¶ 17.
24
     110
         Id.
     111
         DuMontelle Decl. ¶ 3.
25
     112
         Opp’n at 26 (citing Dawn Bonker, President Struppa’s Message on Supreme Court Case, CHAPMAN UNIV.
     (Dec. 10, 2020), https://perma.cc/3CTG-4DBN).
26   113
         Brief at 29 n.6 (quoting The Restriction of Political Campaign Intervention by Section 501(c)(3) Tax-Exempt
     Organizations, INTERNAL REVENUE SERV., www.irs.gov/charities-non-profits/charitable-organizations/the-
27   restriction-of-political-campaign-intervention-by-section-501c3-tax-exempt-organizations).
     114
         For example, Professor Laurence Tribe was counsel of record for candidate Al Gore in the same 2000 post-
28   election litigation. Id. (citing Brief of Respondent Albert Gore, Jr., Bush v. Gore, No. 00-949 (S. Ct. 2000) (listing
     his official Harvard University office address)).

                                                              -18-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 19 of 44 Page ID
                                      #:4137



1    Dr. Eastman’s work on behalf of President Trump was not in violation of IRS rules.
2           With respect to the second factor, Chapman’s Computer and Network Acceptable Use
3    Policy allows the university to monitor emails:
4           Although Chapman University does not make a practice of monitoring e-mail, the University reserves
            the right to retrieve the contents of University-owned computers or e-mail messages for legitimate
5           reasons, such as to find lost messages, to comply with investigations of wrongful acts, to respond to
            subpoenas, or to recover from system failure. 115
6

7    The policy is explicit that monitoring is not “a practice” of the university, though some courts
8    have found that policies allowing monitoring, even if not used, reduce any expectation of
9    privacy. 116 Despite the policy, Dr. Eastman’s subjective expectation of confidentiality was
10   enhanced by his private password, which Chapman administrators could not access. 117
11          The third factor favors an expectation of privacy, as third parties do not have a right to
12   access Chapman emails. The policy states that the university will comply with lawful orders,
13   but is otherwise silent about third party access.
14          In terms of the fourth factor, Chapman notes that when users log into the system, they
15   are presented with a message that states in relevant part:
16          Use of this computer system constitutes your consent that your activities on, or information you store in,
            any part of the system is subject to monitoring and recording by Chapman University or its agents,
17          consistent with the Computer and Network Acceptable Use Policy without further notice. You are
            responsible for being familiar with the University policies related to the use of this computer system. 118
18

19   However, Dr. Eastman states that he accessed his email through his laptop and that he has no
20   recollection of ever seeing that message appear. 119 And although the Select Committee argues
21   that Dr. Eastman was aware of Chapman’s policies due to his decades as a law professor and
22   dean of the law school, it does not specify when the current policy was enacted. 120
23          The above factors are not conclusive here and reveal substantial ambiguity in the
24
     115
         DuMontelle Decl. ¶ 5 (quoting Computer and Network Acceptable Use Policy).
25
     116
         George Washington Univ., 480 F. Supp. 3d at 227.
     117
         Brief at 28; United States v. Long, 64 M.J. 57, 60 (C.A.A.F. 2006).
26   118
         DuMontelle Decl. ¶ 6.
     119
         Brief at 27 n.5.
27   120
         Opp’n at 26. See George Washington Univ., 480 F. Supp. 3d at 227–28 (users were on notice of policies when
     they had to accept terms and conditions to create email accounts); In re Royce Homes, LP, 449 B.R. 709, 741
28   (Bankr. S.D. Tex. 2011) (“[A]ctual or direct notification to employees is unnecessary if the corporation has a
     communications policy that is memorialized.”).

                                                            -19-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 20 of 44 Page ID
                                      #:4138



1    boundaries of Dr. Eastman’s legal work at Chapman.
2                                    Public policy considerations
3            The Court notes the public policy implications of a finding that Dr. Eastman waived all
4    attorney-client privilege through his use of Chapman email. Chapman states in its summary of
5    its computer use policy that “[u]sers should not expect privacy in the contents of University-
6    owned computers or e-mail messages. 121 But at the hearing, Chapman confirmed that its
7    clinical professors continue to use university email for client communications, and that
8    Chapman has taken no steps to clarify its policies after raising concerns in this case. Although
9    Chapman appears to be in the minority of American colleges and universities with a policy this
10   unprotective of privacy, 122 the Court is concerned about the broader ramifications for professors
11   and their clients. Law professors across the country use their university email accounts to
12   communicate with clients, and reasonably expect privacy for those emails as part of their jobs.
13   More importantly, clients of law school clinics should not be expected to research that
14   particular university’s email policies before feeling secure in emailing their attorneys.
15           Given that confidentiality and waiver analysis are ordinarily focused on the client, and
16   considering the unique circumstances of clinical legal work, the Court finds that Dr. Eastman’s
17   use of Chapman’s email account did not destroy attorney-client privilege.
18                   3.      Communications between attorney and client
19           The purpose of the attorney-client privilege is to empower clients to speak freely and
20   candidly to their attorneys. 123 As such, the privilege protects communications made between an
21   attorney and their client. Given the realities of modern legal practice, the privilege also extends
22   to communications with third parties “who have been engaged to assist the attorney in
23   providing legal advice” and those “acting as agent[s]” of the client. 124
24

25
     121
         Computer and Network Acceptable Use Policy: Summary, CHAPMAN UNIV., www.chapman.edu/campus-
     services/information-systems/policies-and-procedures/acceptable-use-policy.aspx.
26   122
         Opp’n at 25 (citing Gregory C. Sisk & Nicholas Halbur, A Ticking Time Bomb? University Data Privacy
     Policies and Attorney-Client Confidentiality in Law School Settings, 2010 UTAH L. REV. 1277 (2010)).
27   123
         See In re Pac. Pictures Corp., 679 F.3d 1121, 1126 (9th Cir. 2012) (citing Upjohn, 449 U.S. at 389).
     124
         See Sanmina, 968 F.3d at 1116 (internal citations omitted). In some instances, the Ninth Circuit has found
28   communications between an attorney and their associates privileged. See United States v. Rowe, 96 F.3d 1294,
     1296 (9th Cir. 1996).

                                                            -20-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 21 of 44 Page ID
                                      #:4139



1            Dr. Eastman claims attorney-client privilege over only nine documents: five emails 125
2    and four attachments. 126 None of these documents includes Dr. Eastman’s client, President
3    Trump, as a sender or recipient of the email. Instead, all emails are sent from a third party to
4    Dr. Eastman, and two of the emails blind copy (bcc) a close advisor to President Trump. 127
5            Despite having filed nearly a hundred pages of briefing, Dr. Eastman does not mention
6    this third-party email sender anywhere in his briefs; the person is named only in his privilege
7    log entries. Dr. Eastman’s description in the privilege log is conclusory, describing the sender
8    merely as his “co-counsel.” 128 Dr. Eastman failed to provide retainer agreements or a sworn
9    declaration that would prove this third party was an attorney or agent for President Trump. The
10   Court also cannot infer the third party’s affiliation with President Trump from his email, which
11   is a generic, non-@donaldtrump.com email address. Dr. Eastman has not met his burden to
12   show that these communications were with an agent of President Trump or the Trump
13   campaign, and as such, these documents do not warrant the protection of the attorney-client
14   privilege. However, Dr. Eastman also claims work product protection over these nine
15   documents, so the Court analyzes them in the next section.
16           B.      Work Product
17           Dr. Eastman claims that all 111 documents, including the nine documents over which he
18   claims attorney-client privilege, are protected work product. The work-product doctrine
19   “protect[s] from discovery documents and tangible things prepared by a party or his
20   representative in anticipation of litigation.” 129
21           To begin, the Court excludes ten of the 111 documents because they are entirely non-
22   substantive. 130 Seven of these documents are only images of logos attached to email signatures,
23   including Facebook, LinkedIn, and Twitter. 131 One document is a blank page 132 and two are
24
     125
         4708; 4722; 4744 (duplicate); 4766 (duplicate); 4788.
25
     126
         4713; 4723; 4745 (duplicate); 4767 (duplicate).
     127
         4766; 4788.
26   128
         See, e.g., Privilege log, 4766 (“Comm with co‐counsel re legal advice”).
     129
         Admiral Ins. Co. v. U.S. Dist. Ct. for Dist. of Arizona, 881 F.2d 1486, 1494 (9th Cir. 1989) (citing Fed. R. Civ.
27   P. 26(b)(3)).
     130
         4827; 5066; 5067; 5154; 5155; 5156; 5157; 5158; 5159; 5160.
28   131
         5066; 5067; 5155; 5156; 5157; 5158; 5159.
     132
         5160.

                                                              -21-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 22 of 44 Page ID
                                      #:4140



1    blank emails. 133 These ten documents do not contain any information protected by the work
2    product doctrine and the Court ORDERS that they must be disclosed. 134
3            The Court now considers whether the remaining 101 documents constituted protected
4    work product to begin with; whether the privilege was waived; and whether an exception
5    applies.
6                    1.      Whether the remaining documents qualify for protection
7            After removing ten non-substantive documents, the Court is left with 101 documents to
8    analyze under the work product doctrine. For documents to be protected work product, they
9    must (1) “be ‘prepared in anticipation of litigation or for trial,’” and (2) “be prepared ‘by or for
10   another party or by or for that other party’s representative.’” 135 The Court considers each
11   requirement in turn.
12                                   Anticipation of litigation
13           In this section, the Court analyzes eighty-seven of the remaining 101 documents, all of
14   which present a question about whether they were prepared in anticipation of litigation. The
15   other fourteen documents 136 were obviously prepared for litigation, so the Court leaves those
16   for later discussion. 137
17           Documents qualify for work product protection if they were “prepared in anticipation of
18   litigation or for trial.” 138 However, some litigation documents are also prepared for a second,
19   non-litigation purpose. Courts protect such “dual purpose” documents when they pass the
20   “because of” test: whether “it can fairly be said that the ‘document was created because of
21   anticipated litigation, and would not have been created in substantially similar form but for the
22   prospect of that litigation.’” 139 It does not matter “whether litigation was a primary or
23   133
         4827; 5154.
24
     134
         See Tower 570 Co. LP v. Affiliated FM Ins. Co., No. 20-CV-00799-JMF, 2021 WL 1222438, at *4 (S.D.N.Y.
     Apr. 1, 2021) (“logos or similar images [] contain no substantive content. The notion that they are protected by
25   the attorney-client privilege or work product doctrine is so preposterous that one must wonder whether the
     documents were perhaps mislabeled.”).
26   135
         In re California Pub. Utils. Comm’n, 892 F.2d 778, 780–81 (9th Cir. 1989) (quoting Fed. R. Civ. P. 26(b)(3)).
     136
         4553; 4708; 4713; 4793; 4794; 4828; 5096; 5097; 5101; 5113; 5412; 5424; 5719; 5720; 5722.
27   137
         See supra Section III.B.1.b, Preparation by or for the client’s representative.
     138
         Fed. R. Civ. P. 26(b)(3).
28   139
         In re Grand Jury Subpoena (Mark Torf/Torf Environmental Management) (“Torf”), 357 F.3d 900, 908 (9th
     Cir. 2003) (quoting United States v. Adlman, 134 F.3d 1194, 1195 (2nd Cir. 1998)) (emphasis added).

                                                            -22-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 23 of 44 Page ID
                                      #:4141



1    secondary motive behind the creation of a document;” 140 instead, courts consider the totality of
2    the circumstances surrounding the document’s creation. 141
3            The Court groups its analysis of the eighty-seven documents as relating to the Electoral
4    Count Act plan; state elections; documents prepared for Congress; connecting third parties; and
5    news sources.
6

7            This section deals with twenty-two of the eighty-seven documents, which relate to Dr.
8    Eastman’s proposal for Vice President Pence to reject or delay counting electoral votes. 142 The
9    Court’s determination of whether these twenty-two documents were created in anticipation of
10   litigation is contextualized by Dr. Eastman’s memo, which outlined the plan to disrupt the Joint
11   Session of Congress.
12           The plan proposed by Dr. Eastman’s memo involve actions by the Vice President
13   without recourse to the courts. The memo states explicitly: “[t]he main thing here is that Pence
14   should do this without asking for permission—either from a vote of the joint session or from
15   the Court.” 143 Dr. Eastman only acknowledged the potential for litigation dismissively,
16   mocking the idea of opponents challenging him in court. 144 Litigation was never Dr. Eastman’s
17   motivation for planning the events of January 6, perhaps because, as he conceded, his legal
18   theories would be rejected “9-0” by the Supreme Court. 145 The Court’s review of the twenty-
19   two documents shows they are consistent with the memo’s plan to proceed without judicial
20   involvement.
21           Sixteen of the twenty-two documents discuss, forward, or request academic articles
22

23   140
         Id. at 908.
24
     141
         Id.
     142
         4707; 4708; 4720; 4722; 4723; 4744; 4745; 4766; 4767; 4788; 4789; 4790; 4791; 4792; 4833; 4834; 4835;
25   5114; 5283; 5329; 5484; 5488.
     143
         Eastman Long Memo at 5 (emphasis added).
26   144
         Id. at 5–6 (“Let the other side challenge his actions in court, where Tribe (who in 2001 conceded the President
     of the Senate might be in charge of counting the votes) and others who would press a lawsuit would have their
27   past position -- that these are non-justiciable political questions – thrown back at them, to get the lawsuit
     dismissed.”). Cf. Riverkeeper v. U.S. Army Corps of Engineers, 38 F. Supp. 3d 1207, 1222 (D. Or. 2014) (holding
28   that mere “awareness that litigation may have been a likely prospect” is insufficient for work product protection).
     145
         Jacob Tr. 110.

                                                            -23-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 24 of 44 Page ID
                                      #:4142



1    interpreting the Electoral Count Act or the Twelfth Amendment. 146 The articles themselves
2    were clearly not created for litigation: they were written and published by independent authors
3    more than a decade ago. The email chains discussing the articles do not reveal litigation
4    strategy or consider how the articles’ analyses would affect litigation. Instead, the emails at
5    most discuss how they could be read to support Dr. Eastman’s interpretation of the Electoral
6    Count Act or the Twelfth Amendment. On these facts, these sixteen documents are not
7    protected work product.
8            In addition, five of the twenty-two documents discuss actions to advance the Electoral
9    Count Act plan. 147 In one of those, Dr. Eastman explains arguments for his plan that he had
10   previously sent to Vice President Pence’s counsel, and does not reference litigation. 148 In
11   another email thread, Dr. Eastman’s colleagues discuss whether to publish a piece supporting
12   his plan, and they touch on state lawsuits only to criticize how they are being handled by the
13   Trump campaign. 149 In a different email thread, Dr. Eastman and a colleague consider how to
14   use a state court ruling to justify Vice President Pence enacting the plan. 150 In another email, a
15   colleague focuses on the “plan of action” after the January 6 attacks, not mentioning future
16   litigation. 151 Even if the authors of these five documents anticipated litigation, its prospect
17   certainly did not “animate every document [they] prepared.” 152 The true animating force behind
18   these emails was advancing a political strategy: to persuade Vice President Pence to take
19   unilateral action on January 6. Moreover, nothing about the form of these documents is tailored
20   to the prospect of litigation. Because these five documents were not created in anticipation of
21   litigation, Dr. Eastman must disclose them to the Select Committee.
22           One of the twenty-two documents relating to the Electoral Count Act plan presents a
23   much closer question on anticipation of litigation. In this email, a colleague forwards to Dr.
24
     146
         4707; 4720; 4722; 4723; 4744 (duplicate); 4745 (duplicate); 4766 (duplicate); 4767 (duplicate); 4788; 4789;
25   4790; 4791; 4792; 4833; 4834; 4835.
     147
         5114; 5283; 5329; 5484; 5488.
26   148
         5484.
     149
         5283; 5329.
27   150
         5114. With respect to this document, the Court’s finding applies only to the first email at the top of the page.
     The remainder of the document comprises document 5113 and is discussed below.
28   151
         5488.
     152
         Torf, 357 F.3d at 908.

                                                              -24-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 25 of 44 Page ID
                                      #:4143



1    Eastman a memo they wrote for one of President Trump’s attorneys. 153 The memo sketches a
2    series of events for the days leading up to and following January 6, if Vice President Pence
3    were to delay counting or reject electoral votes. The memo clearly contemplates and plans for
4    litigation: it maps out potential Supreme Court suits and the impact of different judicial
5    outcomes. While this memo was created for both political and litigation purposes, it
6    substantively engages with potential litigation and its consequences for President Trump. The
7    memo likely would have been written substantially differently had the author not expected
8    litigation. The Court therefore finds that this document was created in anticipation of litigation.
9           Accordingly, the Court finds that twenty-one of the twenty-two documents were not
10   made in anticipation of litigation and thus ORDERS them to be disclosed to the Select
11   Committee.
12

13          This section pertains to nineteen of the eighty-seven documents, all of which discuss or
14   analyze alleged election fraud at the state level. 154
15          First, eight of the nineteen documents forward or discuss communications from state
16   legislators about alleged fraud in the 2020 election. 155 Two of those are resolutions by state
17   legislatures regarding election fraud; 156 one is a letter from the Republican members of the
18   Arizona Legislature to Vice President Pence; 157 and two are letters from a Georgia state senator
19   to President Trump. 158 These documents do not reference litigation and are explicitly intended
20   to express the opinions of the legislature or seek assistance from federal officials. Similarly, the
21   four emails discussing these documents offer no litigation analysis. As such, these eight
22   documents are not protected work product and must be disclosed to the Select Committee.
23          In addition, eleven of the nineteen documents relate to concerns about election fraud. 159
24

25
     153
         4708.
     154
         4990; 5011; 5012; 5014; 5018; 5130; 5131; 5134; 5135; 5161; 5251; 5252; 5261; 5268; 5433; 5490; 5491;
26   5492; 5498.
     155
         4990; 5011; 5012; 5014; 5251; 5252; 5261; 5268.
27   156
         5012 (Wisconsin); 5252 (Arizona).
     157
         5261.
28   158
         4990; 5268 (duplicate).
     159
         5018; 5130; 5131; 5134; 5135; 5161; 5433; 5490; 5491; 5492; 5498.

                                                         -25-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 26 of 44 Page ID
                                      #:4144



1    Eight of those contain or discuss technical analyses of alleged fraud, including five noting
2    voting machine weaknesses that could lead to fraudulent results. 160 Although Dr. Eastman’s
3    privilege log describes some of these documents as “comm with counsel and expert re fact
4    evidence,” he does not specify any particular litigation. 161 Moreover, the technical analyses
5    make no mention of any potential action based on their findings, and the email discussions do
6    not engage with the findings of the reports or specify any litigation uses for them. Three of
7    those eleven documents discuss general concerns about election fraud, such as fears about
8    voting machines 162 and publicizing potential new evidence. 163 In general, Dr. Eastman used
9    evidence of alleged election fraud for two purposes: to support state litigation and to persuade
10   legislators and Vice President Pence to act. Despite those possible dual purposes, these emails
11   do not suggest that Dr. Eastman used them for litigation, make no mention of litigation, and
12   would have had the same form without the prospect of litigation.
13           On this record, Dr. Eastman has not met his burden of demonstrating that these nineteen
14   documents were created in anticipation of litigation, and therefore the Court ORDERS them to
15   be disclosed.
16

17           This section discusses seventeen of the eighty-seven documents, each of which specify
18   that it was created for distribution to Congress. 164 Two of those state, “[p]lease pass this
19   onto . . . federal legislators;” 165 or note “[t]his . . . has been circulated to Members.” 166 Eight
20   documents are an email chain between Dr. Eastman and colleagues creating a memo of Article
21   II violations “for [C]ongress.” 167 And seven emails name specific senators as the intended
22   recipients of the attached documents. 168 These communications were prepared for members of
23

24
     160
         5018; 5130; 5131; 5134 (duplicate); 5135 (duplicate); 5161 (duplicate); 5492; 5498.
     161
         Privilege log, 5130; Privilege log, 5134.
25
     162
         5433.
     163
         5490; 5491.
26   164
         4494; 4496; 4547; 4721; 4839; 4841; 4976; 4977; 4979; 4992; 5017; 5045; 5046; 5064; 5068; 5091; 5094.
     165
         4547.
27   166
         4976; 4977; 4979; 4992.
     167
         4721; 5017; 5045; 5046; 5064; 5068; 5091; 5094 (discussing a recent litigation development in the context of
28   creating a list for Congress).
     168
         4494; 4496; 4839; 4841.

                                                            -26-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 27 of 44 Page ID
                                      #:4145



1    Congress and do not reference litigation strategy or concerns. The Court finds that those
2    documents were not prepared in anticipation of litigation, but rather were created to persuade
3    federal legislators to take action. 169
4            Accordingly, these seventeen documents are not protected work product, and the Court
5    ORDERS them to be disclosed to the Select Committee.
6

7            This section discusses twenty of the eighty-seven documents, all of which connect third
8    parties. 170 Seven of those documents provide or request contact information for President
9    Trump, Dr. Eastman, and third parties. 171 Thirteen documents are communications with third
10   parties volunteering to help Dr. Eastman, sending resumes, or offering suggestions for
11   President Trump. 172 None of these documents relate to or implicate litigation. Although Dr.
12   Eastman claims that some of the emails are regarding “fact development,” 173 they are
13   predominantly administrative. The emails do not discuss how these third parties could
14   contribute to any potential litigation; in fact, some are unsolicited introductions or requests 174
15   rather than coordinated discussions between experts or advisors.
16           Accordingly, these twenty documents are not protected by the work product doctrine,
17   and the Court ORDERS them to be disclosed.
18

19           This section considers nine of the eighty-seven documents, each of which relates to or
20   includes news or press releases. 175 Five of those forward news reports and press releases about
21
     169
         See Phillips v. Immig. and Customs Enforcement, 385 F. Supp. 2d 296, 309 (S.D.N.Y. 2005) (“one of the
22
     memoranda suggests that they were actually prepared for a presentation to a member of Congress. The Court
23   notes that the date of the memoranda, October 4, 2000, happens to be the day before the INS meeting with
     Senator Feingold . . . , further indicating that these memoranda were prepared in anticipation of that meeting.”).
24   Cf. P and B Marina, Ltd Partnership v. Logrande, 136 F.R.D. 50, 58 (E.D.N.Y. 1991) (holding that when a
     lobbyist was used to “apply[] political pressure,” correspondence “was not directed towards anticipated litigation
25   but rather toward nonlitigation means that could achieve the same results in lieu of litigation”).
     170
         5299; 5300; 5423; 5547; 5551; 5668; 5672; 5676; 5677; 5678; 5680; 5874; 5876; 6023; 6024; 6028; 6032;
26   6035; 6039; 6041.
     171
         5668; 5676; 5677; 5678; 5680; 5874; 5876.
27   172
         5299; 5300 (resume); 5423; 5547; 5551; 5672; 6023; 6024; 6028 (resume); 6032; 6035; 6039; 6041.
     173
         Privilege log, 5680.
28   174
         5668; 5874.
     175
         5023; 5024; 5061; 5338; 5489; 5510; 5515; 5519; 5578.

                                                            -27-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 28 of 44 Page ID
                                      #:4146



1    the events of January 6 with no or virtually no text in the bodies of the emails. 176 Two email
2    chains comment on news reports about violent rioters on January 6, but do not relate to
3    litigation. 177 One email congratulates Dr. Eastman for his speech on the Ellipse and links to a
4    Twitter video of the speech. 178 These public articles, press releases, and videos were not created
5    for litigation, and the minimal commentary contained in the emails was unrelated to litigation.
6            As such, these nine documents are not protected work product and the Court ORDERS
7    that they must be disclosed.
8                                    Preparation by or for the client’s representative
9            The Court next considers the fourteen of the 101 documents that it has not yet discussed
10   because they were clearly prepared in anticipation of litigation, as well as the one document it
11   concluded above was prepared in anticipation of litigation. 179 The Court now examines those
12   fifteen documents to confirm whether they were created by or for a protected party.
13           The work product doctrine protects materials prepared “by or for another party or by or
14   for that other party’s representative (including the other party’s attorney, consultant, surety,
15   indemnitor, insurer, or agent).” 180 Accordingly, documents are protected if they were prepared
16   by or for President Trump or his campaign, or by or for Dr. Eastman or another representative
17   of President Trump.
18           The Court finds that thirteen of these fifteen documents qualify as protected. 181 Eight of
19   those were sent by Dr. Eastman, sent directly to Dr. Eastman, or had Dr. Eastman copied on the
20   email. 182 Five documents were created by or for agents of President Trump or his campaign,
21   including attorneys of record in state cases and President Trump’s personal attorney. 183 These
22   documents were later forwarded to Dr. Eastman. Because these thirteen documents were
23

24
     176
         5023; 5024; 5061; 5510 (email body is “FYI”); 5578 (commending press release).
     177
         5489; 5515; 5519.
25
     178
         5338.
     179
         4553; 4708; 4713; 4793; 4794; 4828; 5096; 5097; 5101; 5113; 5412; 5424; 5719; 5720; 5722. The Court notes
26   that document 5114 includes the entirety of document 5113, so all discussions of 5113 apply to the corresponding
     sections of 5114. See note 150.
27   180
         Fed. R. Civ. P. 26(b)(3); see United States v. Nobles, 422 U.S. 225, 238 (1975).
     181
         4553; 4708; 4713; 4793; 4794; 4828; 5097; 5101; 5113; 5412; 5424; 5719; 5720.
28   182
         4553; 4793; 5097; 5101; 5113; 5412; 5424; 5719.
     183
         4708; 4713; 4794; 4828 (duplicate); 5720.

                                                           -28-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 29 of 44 Page ID
                                      #:4147



1    created by or for agents of President Trump or his campaign, they are protected work product.
2            However, two of the fifteen documents are orders issued by a court in a state
3    proceeding. 184 As such, these two documents were not created by or for an agent of President
4    Trump or his campaign, and the Court ORDERS them to be disclosed.
5                    2.      Waiver of protection
6            The Court now considers whether Dr. Eastman waived his privilege over any of the
7    thirteen remaining documents that the Court concluded above were protected work product. 185
8            Unlike attorney-client privilege, which is waived if not kept completely confidential,
9    work product protection is only waived when attorneys disclose their work to “an adversary or
10   a conduit to an adversary in litigation.” 186 The Ninth Circuit makes two inquiries to assess
11   whether disclosure to “a conduit to an adversary” constitutes waiver: whether the party
12   selectively disclosed materials, and whether the party reasonably believed that the recipient
13   would keep the disclosed documents confidential. 187
14           The Select Committee previously argued that Dr. Eastman’s use of Chapman email
15   constituted waiver because he knew that his documents could be accessed by Chapman
16   University, which it claims was a conduit to an adversary by virtue of its “policy to disclose
17   emails in response to subpoenas.” 188 However, courts consider whether the party reasonably
18   believed that the recipient would keep the disclosed documents confidential, 189 and as discussed
19   above Dr. Eastman had a reasonable expectation of confidentiality in his emails. 190 Holding
20   otherwise would result in the sweeping proposition that using any email provider that complies
21   with subpoenas waives work product protection. 191
22

23
     184
         5096; 5722.
     185
         4553; 4708; 4713; 4793; 4794; 4828; 5097; 5101; 5113; 5412; 5424; 5719; 5720.
24
     186
         Sanmina, 968 F.3d at 1121; Nobles, 422 U.S. at 239.
     187
         Sanmina, 968 F.3d at 1121.
25
     188
         TRO Opp’n at 22–23.
     189
         Sanmina, 968 F.3d at 1121.
26   190
         See supra Section III.A.2, Chapman University email use.
     191
         See, e.g., Government Data Requests, YAHOO!, www.yahooinc.com/transparency/reports/government-data-
27   requests.html (“When we disclose data, consistent with our Global Principles for Responding to Government
     Requests, we narrowly interpret the request and disclose only as much data as is necessary to comply with the
28   request.”); How Google handles government requests for user information, GOOGLE,
     policies.google.com/terms/information-requests.

                                                           -29-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 30 of 44 Page ID
                                      #:4148



1            However, the Court finds work product protection was waived for two documents that
2    are now public: a court filing 192 and a memo disclosed to the news media. 193 Making work
3    product public is the epitome of sharing with an adversary, thus waiving protection. 194 Because
4    these two documents are public, Dr. Eastman may not assert the privilege, and the Court
5    ORDERS them to be disclosed.
6                    3.       Crime-fraud exception
7            Based on the Court’s previous analysis, there are eleven remaining protected
8    documents. 195 The Court now considers whether any of those documents should be disclosed
9    based on the crime-fraud exception, as the Select Committee argues. 196
10           The crime-fraud exception applies when (1) a “client consults an attorney for advice that
11   will serve [them] in the commission of a fraud or crime,” 197 and (2) the communications are
12   “sufficiently related to” and were made “in furtherance of” the crime. 198 It is irrelevant whether
13   the attorney was aware of the illegal purpose 199 or whether the scheme was ultimately
14   successful. 200 The exception extinguishes both the attorney-client privilege and the work
15   product doctrine. 201 The party seeking disclosure must prove the crime-fraud exception applies
16   by a preponderance of the evidence, 202 meaning “the relevant facts must be shown to be more
17

18
     192
         5720.
19   193
         4713 (November 18, 2020 memo from Kenneth Chesebro); Read the Nov. 18 Memo on Alternate Trump
     Electors, N.Y. TIMES (Feb. 2, 2022), www.nytimes.com/interactive/2022/02/02/us/trump-electors-memo-
20   november.html.
     194
         Bittaker v. Woodford, 331 F.3d 715, 719–20 (9th Cir. 2004).
21   195
         4553; 4708; 4793; 4794; 4828 (duplicate); 5097; 5101; 5113; 5412; 5424; 5719.
     196
         Opp’n at 37.
22   197
         In re Grand Jury Investigation, 810 F.3d 1110, 1113 (9th Cir. 2016).
23
     198
         In re Grand Jury Proc. (Corp.), 87 F.3d 377, 381–83 (9th Cir. 1996).
     199
         United States v. Laurins, 857 F.2d 529, 540 (9th Cir. 1988).
24
     200
         In re Grand Jury Proc. (Corp.), 87 F.3d at 382.
     201
         In re Int’l Sys. & Controls Corp. Sec. Litig., 693 F.2d 1235, 1242 (5th Cir. 1982) (“Every court of appeals that
25   has addressed the crime-fraud exception’s application to work product has concluded that it does apply.”); In re
     John Doe Corp., 675 F.2d 482, 492 (2d Cir. 1982) (“where so-called work-product is in aid of a criminal scheme,
26   fear of disclosure may serve a useful deterrent purpose and be the kind of rare occasion on which an attorney's
     mental processes are not immune.”). Indeed, “conduct by an attorney that is merely unethical, as opposed to
27   illegal, may be enough to vitiate the work product doctrine.” United States v. Christensen, 828 F.3d 763, 805 (9th
     Cir. 2015).
28   202
         In re Napster, Inc. Copyright Litig., 479 F.3d 1078, 1094–95 (9th Cir. 2007), abrogated on other grounds by
     Mohawk Indus., Inc. v. Carpenter, 558 U.S. 100 (2009); see Fed. R. Evid. 104(a).

                                                             -30-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 31 of 44 Page ID
                                      #:4149



1    likely true than not.” 203
2            The Court first analyzes whether President Trump and Dr. Eastman likely committed
3    any of the crimes alleged by the Select Committee, and then whether the eleven remaining
4    documents relate to and further those crimes.
5                                    Potential crimes or fraud
6            The Select Committee alleges that the crime-fraud exception applies based on three
7    offenses:
8                (1) President Trump attempted to obstruct “Congress’s proceeding to count the
9                    electoral votes on January 6,” in violation of 18 U.S.C. § 1512(c)(2); 204
10               (2) “President Trump, Plaintiff [Dr. Eastman], and several others entered into an
11                   agreement to defraud the United States by interfering with the election
12                   certification process,” in violation of 18 U.S.C. § 371; 205 and
13               (3) “President [Trump] and members of his Campaign engaged in common law fraud
14                   in connection with their efforts to overturn the 2020 election results.” 206
15   The Court will now determine whether President Trump and Dr. Eastman likely committed
16   these offenses.
17

18           The Select Committee alleges that President Trump violated 18 U.S.C. § 1512(c)(2),
19   which criminalizes obstruction or attempted obstruction of an official proceeding. 207 It requires
20   three elements: (1) the person obstructed, influenced or impeded, or attempted to obstruct,
21   influence or impede (2) an official proceeding of the United States, and (3) did so corruptly.
22           Attempts to obstruct
23           Section 1512(c)(2) requires that the obstructive conduct have a “nexus . . . to a specific
24   official proceeding” that was “either pending or was reasonably foreseeable to [the person]
25

26
     203
         United States v. Lawrence, 189 F.3d 838, 844 (9th Cir.1999).
27   204
         Opp’n at 38.
     205
         Id. at 43.
28   206
         Id. at 46.
     207
         Id. at 38.

                                                            -31-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 32 of 44 Page ID
                                      #:4150



1    when he engaged in the conduct.” 208 President Trump attempted to obstruct an official
2    proceeding by launching a pressure campaign to convince Vice President Pence to disrupt the
3    Joint Session on January 6.
4            President Trump facilitated two meetings in the days before January 6 that were
5    explicitly tied to persuading Vice President Pence to disrupt the Joint Session of Congress. On
6    January 4, President Trump and Dr. Eastman hosted a meeting in the Oval Office with Vice
7    President Pence, the Vice President’s counsel Greg Jacob, and the Vice President’s Chief of
8    Staff Marc Short. 209 At that meeting, Dr. Eastman presented his plan to Vice President Pence,
9    focusing on either rejecting electors or delaying the count. 210 When Vice President Pence was
10   unpersuaded, President Trump sent Dr. Eastman to review the plan in depth with the Vice
11   President’s counsel on January 5. 211 Vice President Pence’s counsel interpreted Dr. Eastman’s
12   presentation as being on behalf of the President. 212
13           On the morning of January 6, President Trump made several last-minute “revised
14   appeal[s] to the Vice President” to pressure him into carrying out the plan. 213 At 1:00 am,
15   President Trump tweeted: “If Vice President @Mike_Pence comes through for us, we will win
16   the Presidency . . . Mike can send it back!” 214 At 8:17 am, President Trump tweeted: “All Mike
17   Pence has to do is send them back to the States, AND WE WIN. Do it Mike, this is a time for
18   extreme courage!” 215 Shortly after, President Trump rang Vice President Pence and once again
19   urged him “to make the call” and enact the plan. 216 Just before the Joint Session of Congress
20
     208
         United States v. Lonich, 23 F.4th 881, 905 (9th Cir. 2022) (citing United States v. Young, 916 F.3d 368, 385
21
     (4th Cir. 2019)).
     209
         Jacob Tr. 82.
22   210
         Id.
23
     211
         Id. at 105–07.
     212
         Id. at 107.
24
     213
         Short Tr. 26.
     214
         Opp’n at 10 (quoting Donald J. Trump (@realDonaldTrump), TWITTER (Jan. 6, 2021, 1:00 AM),
25   perma.cc/9EV8-XJ7K).
     215
         Id. at 11 (quoting Donald J. Trump (@realDonaldTrump), TWITTER (Jan. 6, 2021, 8:17 AM), perma.cc/2J3P-
26   VDBV).
     216
         POTUS Private Schedule (handwritten note on President’s schedule showing call with VPOTUS at 11:20
27   AM); Kellogg Tr. 87, 90–92 (describing President Trump criticizing the Vice President as “not tough enough to
     make the call” to delay or reject electoral votes). See also Short Tr. 16 (“Q [from Select Committee]: . . . I
28   understand that you weren’t on the call, but I just want to read you something that was quoted in Bob
     Woodward’s book “Peril,” that he indicated in “Peril” that the President said: If you don’t do it, I picked the

                                                            -32-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 33 of 44 Page ID
                                      #:4151



1    began, President Trump gave a speech to a large crowd on the Ellipse in which he warned,
2    “[a]nd Mike Pence, I hope you’re going to stand up for the good of our Constitution and for the
3    good of our country. And if you’re not, I’m going to be very disappointed in you. I will tell you
4    right now.” 217 President Trump ended his speech by galvanizing the crowd to join him in
5    enacting the plan: “[L]et’s walk down Pennsylvania Avenue” to give Vice President Pence and
6    Congress “the kind of pride and boldness that they need to take back our country.” 218
7           Together, these actions more likely than not constitute attempts to obstruct an official
8    proceeding.
9           Official proceeding
10          The Court next analyzes whether the Joint Session of Congress to count electoral votes
11   on January 6, 2021, constituted an “official proceeding” under the obstruction statute. The
12   United States Code defines “official proceeding” to include “a proceeding before the
13   Congress.” 219 The Twelfth Amendment outlines the steps to elect the President, culminating in
14   the President of the Senate opening state votes “in the presence of the Senate and House of
15   Representatives.” 220 Dr. Eastman does not dispute that the Joint Session is an “official
16   proceeding.” While there is no binding authority interpreting “proceeding before the Congress,”
17   ten colleagues from the District of Columbia have concluded that the 2021 electoral count was
18   an “official proceeding” within the meaning of section 1512(c)(2), 221 and the Court joins those
19   well-reasoned opinions.
20

21
     wrong man 4 years ago. The President said: You’re going to wimp out. He reportedly said to the Vice President:
     You can be a hero, or you can be a pussy.”).
22   217
         Trump Speech Transcript.
23
     218
         Id.
     219
         18 U.S.C. § 1515(a)(1)(B).
24
     220
         U.S. CONST. amend. XII.
     221
         United States v. Sandlin, __ F. Supp. 3d __, No. 21-CR-00088-DLF, 2021 WL 5865006 (D.D.C. Dec. 10,
25   2021); United States v. Caldwell, __ F. Supp. 3d __, No. 21-CR-00028-APM, 2021 WL 6062718 (D.D.C. Dec.
     20, 2021); United States v. Mostofsky, __ F. Supp. 3d __, No. 21-CR-00138-JEB, 2021 WL 6049891 (D.D.C.
26   Dec. 21, 2021); United States v. Nordean, __ F. Supp. 3d __, No. 21-CR-00175-TJK, 2021 WL 6134595 (D.D.C.
     Dec. 28, 2021); United States v. Montgomery, No. 21-CR-00046-RDM, 2021 WL 6134591 (D.D.C. Dec. 28,
27   2021); McHugh, __ F. Supp. 3d __, 2022 WL 296304; United States v. Grider, No. 21-CR-00022-CKK, 2022 WL
     392307 (D.D.C. Feb. 9, 2022); United States v. Miller, No. 21-CR-00119-CJN, 2022 WL 823070 (D.D.C. Mar. 7,
28   2022); United States v. Andries, No. 21-CR-00093-RC, 2022 WL 768684 (D.D.C. Mar. 14, 2022); United
     States v. Puma, No. 21-CR-00454-PLF, 2022 WL 823079 (D.D.C. Mar. 19, 2022).

                                                          -33-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 34 of 44 Page ID
                                      #:4152



1            Corrupt intent
2            A person violates § 1512(c) when they obstruct an official proceeding with a corrupt
3    mindset. The Ninth Circuit has not defined “corruptly” for purposes of this statute. 222 However,
4    the court has made clear that the threshold for acting “corruptly” is lower than “consciousness
5    of wrongdoing,” 223 meaning a person does not need to know their actions are wrong to break
6    the law. Because President Trump likely knew that the plan to disrupt the electoral count was
7    wrongful, his mindset exceeds the threshold for acting “corruptly” under § 1512(c).
8            President Trump and Dr. Eastman justified the plan with allegations of election fraud—
9    but President Trump likely knew the justification was baseless, and therefore that the entire
10   plan was unlawful. Although Dr. Eastman argues that President Trump was advised several
11   state elections were fraudulent, 224 the Select Committee points to numerous executive branch
12   officials who publicly stated 225 and privately stressed to President Trump 226 that there was no
13   evidence of fraud. By early January, more than sixty courts dismissed cases alleging fraud due
14   to lack of standing or lack of evidence, 227 noting that they made “strained legal arguments
15
     222
         Lonich, 23 F.4th at 906.
16
     223
         See United States v. Watters, 717 F.3d 733, 735 (9th Cir. 2013) (affirming a jury instruction stating that
     “‘corruptly’ meant acting with ‘consciousness of wrongdoing’” because “if anything, . . . [it] placed a higher
17   burden of proof on the government than section 1512(c) demands” (emphasis added)).
     224
         Reply at 21 (former Attorney General Barr remarking recently, “one of the things is the President was
18   surrounded by these people who would very convincingly make the case for fraud”); Donoghue Tr. 124 (Assistant
     Attorney General Jeff Clark repeatedly told President Trump that there was likely substantial election fraud and
19   that the Department of Justice was not doing “real investigations that would . . . uncover widespread fraud.”);
     Eastman Long Memo at 1 (“Quite apart from outright fraud (both traditional ballot stuffing, and electronic
20   manipulation of voting tabulation machines), important state election laws were altered or dispensed with
     altogether in key swing states and/or cities and counties.”).
21   225
         On November 12, 2020, the Cybersecurity and Infrastructure Security Agency published a statement that “[t]he
     November 3rd election was the most secure in American history” and that “[t]here is no evidence that any voting
22
     system deleted or lost votes, changed votes, or was in any way compromised.” Opp’n at 5 (citing CISA, Joint
23   Statement from Elections Infrastructure Government Coordinating Council & The Election Infrastructure Sector
     Coordinating Executive Committees (Nov. 12, 2020), perma.cc/NQQ9-Z7GZ). Similarly, Attorney General Barr
24   publicly disagreed with President Trump’s claims of election improprieties. Id. at 6 (citing Michael Balsamo,
     Disputing Trump, Barr says no widespread election fraud, ASSOC. PRESS (Dec. 1, 2020), perma.cc/4U8N-SMB5).
25
     226
         In a December 15, 2020 meeting, high-ranking advisors emphasized to President Trump that with respect to
     allegations of fraud, “people are telling you things that are not right.” Opp’n at 6 (citing Interview of Jeffrey
26   Rosen Before the S. Comm. on the Judiciary, 117th Cong. 30 (Aug. 7, 2021), perma.cc/UF5R-PW7Y). On
     December 27, 2020, Deputy Attorney General Donoghue told President Trump “in very clear terms” that the
27   Department of Justice had done “dozens of investigations, hundreds of interviews” and concluded that “the major
     allegations [of election fraud] are not supported by the evidence developed.” Donoghue Tr. 59–60.
28   227
         Opp’n at 45 (citing William Cummings, Joey Garrison & Jim Sergent, By the numbers: President Donald
     Trump’s failed efforts to overturn the election, USA TODAY (Jan. 6, 2021), perma.cc/683S-HSRC).

                                                           -34-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 35 of 44 Page ID
                                      #:4153



1    without merit and speculative accusations” 228 and that “there is no evidence to support
2    accusations of voter fraud.” 229 President Trump’s repeated pleas 230 for Georgia Secretary of
3    State Raffensperger clearly demonstrate that his justification was not to investigate fraud, but to
4    win the election: “So what are we going to do here, folks? I only need 11,000 votes. Fellas, I
5    need 11,000 votes. Give me a break.” 231 Taken together, this evidence demonstrates that
6    President Trump likely knew the electoral count plan had no factual justification.
7            The plan not only lacked factual basis but also legal justification. Dr. Eastman’s memo
8    noted that the plan was “BOLD, Certainly.” 232 The memo declared Dr. Eastman’s intent to step
9    outside the bounds of normal legal practice: “we’re no longer playing by Queensbury Rules.” 233
10   In addition, Vice President Pence “very consistent[ly]” made clear to President Trump that the
11   plan was unlawful, refusing “many times” to unilaterally reject electors or return them to the
12   states. 234 In the meeting in the Oval Office two days before January 6, Vice President Pence
13   stressed his “immediate instinct [] that there is no way that one person could be entrusted by the
14   Framers to exercise that authority.” 235
15

16
     228
         Donald J. Trump for President, Inc. v. Boockvar, 502 F. Supp. 3d 899, 906 (M.D. Pa.), aff’d sub nom. Donald
     J. Trump for President, Inc. v. Sec’y of Pennsylvania, 830 F. App’x 377 (3d Cir. 2020), and appeal dismissed, No.
17   20-3384, 2021 WL 807531 (3d Cir. Jan. 7, 2021) (“[T]his Court has been presented with strained legal arguments
     without merit and speculative accusations, unpled in the operative complaint and unsupported by evidence. In the
18   United States of America, this cannot justify the disenfranchisement of a single voter, let alone all the voters of its
     sixth most populated state. Our people, laws, and institutions demand more.”).
19   229
         Stoddard v. City Election Comm’n, No. 20-014604-CZ, slip op. at 4 (Mich. Cir. Ct. Nov. 6, 2020) (“A delay in
     counting and finalizing the votes from the City of Detroit without any evidentiary basis for doing so, engenders a
20   lack of confidence in the City of Detroit to conduct full and fair elections. The City of Detroit should not be
     harmed when there is no evidence to support accusations of voter fraud.”). See also Ward v. Jackson, No. CV-20-
21
     0343-AP/EL, 2020 WL 8617817, at *2 (Ariz. Dec. 8, 2020), cert. denied, 141 S. Ct. 1381 (2021) (“[Plaintiff] fails
     to present any evidence of ‘misconduct[]’ [or] ‘illegal votes.’”).
22   230
         First, President Trump requested, “All I want to do is this, I just want to find 11,780 votes, which is one more
23   than we have because we won the state.” Trump-Raffensperger Call Transcript. Minutes later he grasped again: “I
     don’t know, look, Brad. I got to get . . . I have to find 12,000 votes.” Id.
24
     231
         Id.
     232
         Eastman Long Memo at 5 (capitalization in original).
25
     233
         Id. The Queensberry Rules were accepted norms for boxing fights and commonly refers to general rules of fair
     play. Marquis of Queensberry Rules, MERRIAM-WEBSTER, perma.cc/UHF2-T3FY. Cf. R.A.V. v. City of St. Paul,
26   Minn., 505 U.S. 377, 392 (1992) (“St. Paul has no such authority to license one side of a debate to fight freestyle,
     while requiring the other to follow Marquis of Queensberry rules.”); Miranda v. Arizona, 384 U.S. 436, 442
27   (1966) (quoting Police Commissioner arguing that “What the Court is doing is akin to requiring one boxer to fight
     by Marquis of Queensbury rules while permitting the other to butt, gouge and bite”).
28   234
         Short Tr. 26–27.
     235
         Jacob Tr. 95.

                                                              -35-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 36 of 44 Page ID
                                      #:4154



1           Dr. Eastman argues that the plan was legally justified as it “was grounded on a good
2    faith interpretation of the Constitution.” 236 But “ignorance of the law is no excuse,” 237 and
3    believing the Electoral Count Act was unconstitutional did not give President Trump license to
4    violate it. Disagreeing with the law entitled President Trump to seek a remedy in court, not to
5    disrupt a constitutionally-mandated process. 238 And President Trump knew how to pursue
6    election claims in court—after filing and losing more than sixty suits, this plan was a last-ditch
7    attempt to secure the Presidency by any means.
8           The illegality of the plan was obvious. Our nation was founded on the peaceful transition
9    of power, epitomized by George Washington laying down his sword to make way for
10   democratic elections. 239 Ignoring this history, President Trump vigorously campaigned for the
11   Vice President to single-handedly determine the results of the 2020 election. As Vice President
12   Pence stated, “no Vice President in American history has ever asserted such authority.” 240
13   Every American—and certainly the President of the United States—knows that in a democracy,
14   leaders are elected, not installed. With a plan this “BOLD,” 241 President Trump knowingly tried
15   to subvert this fundamental principle.
16          Based on the evidence, the Court finds it more likely than not that President Trump
17   corruptly attempted to obstruct the Joint Session of Congress on January 6, 2021.
18

19          The Select Committee also alleges that President Trump, Dr. Eastman, and others
20   conspired to defraud the United States by disrupting the electoral count, in violation of 18
21   U.S.C. § 371. 242 That crime requires that (1) at least two people entered into an agreement to
22   obstruct a lawful function of the government (2) by deceitful or dishonest means, and (3) that a
23

24
     236
         Reply at 20.
25
     237
         United States v. Int’l Mins. & Chem. Corp., 402 U.S. 558, 562 (1971).
     238
         See, e.g., Bush v. Gore, 531 U.S. 98 (2000).
26   239
         Members of Congress are daily reminded of his commitment when they pass John Trumbull’s iconic painting,
     General George Washington Resigning His Commission, which hangs in the Capitol Rotunda. ARCHITECT OF THE
27   CAPITOL, www.aoc.gov/explore-capitol-campus/art/general-george-washington-resigning-his-commission.
     240
         Pence Letter at 2.
28   241
         Eastman Long Memo at 5 (capitalization in original).
     242
         Opp’n at 43.

                                                         -36-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 37 of 44 Page ID
                                      #:4155



1    member of the conspiracy engaged in at least one overt act in furtherance of the agreement. 243
2            Agreement to obstruct a lawful government function
3            As the Court discussed at length above, 244 the evidence demonstrates that President
4    Trump likely attempted to obstruct the Joint Session of Congress on January 6, 2021. While the
5    Court earlier analyzed those actions as attempts to obstruct an “official proceeding,” Congress
6    convening to count electoral votes is also a “lawful function of government” within the
7    meaning of 18 U.S.C. § 371, which Dr. Eastman does not dispute.
8            An “agreement” between co-conspirators need not be express and can be inferred from
9    the conspirators’ conduct. 245 There is strong circumstantial evidence to show that there was
10   likely an agreement between President Trump and Dr. Eastman to enact the plan articulated in
11   Dr. Eastman’s memo. In the days leading up to January 6, Dr. Eastman and President Trump
12   had two meetings with high-ranking officials to advance the plan. On January 4, President
13   Trump and Dr. Eastman hosted a meeting in the Oval Office to persuade Vice President Pence
14   to carry out the plan. The next day, President Trump sent Dr. Eastman to continue discussions
15   with the Vice President’s staff, in which Vice President Pence’s counsel perceived Dr. Eastman
16   as the President’s representative. 246 Leading small meetings in the heart of the White House
17   implies an agreement between the President and Dr. Eastman and a shared goal of advancing
18   the electoral count plan. The strength of this agreement was evident from President Trump’s
19   praise for Dr. Eastman and his plan in his January 6 speech on the Ellipse: “John is one of the
20   most brilliant lawyers in the country, and he looked at this and he said, ‘What an absolute
21   disgrace that this can be happening to our Constitution.’” 247
22           Based on these repeated meetings and statements, the evidence shows that an agreement
23   to enact the electoral count plan likely existed between President Trump and Dr. Eastman.
24           Deceitful or dishonest means
25           Obstruction of a lawful government function violates § 371 when it is carried out “by
26
     243
         United States v. Meredith, 685 F.3d 814, 822 (9th Cir. 2012).
27   244
         See supra Section III.B.3.a.i.(a), Attempts to obstruct.
     245
         United States v. Paramount Pictures, 334 U.S. 131, 142 (1948).
28   246
         Jacob Tr. 107.
     247
         Trump Speech Transcript.

                                                           -37-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 38 of 44 Page ID
                                      #:4156



1    deceit, craft or trickery, or at least by means that are dishonest.” 248 While acting on a “good
2    faith misunderstanding” of the law is not dishonest, “merely disagreeing with the law does not
3    constitute a good faith misunderstanding . . . because all persons have a duty to obey the law
4    whether or not they agree with it.” 249
5           The Court discussed above how the evidence shows that President Trump likely knew
6    that the electoral count plan was illegal. 250 President Trump continuing to push that plan despite
7    being aware of its illegality constituted obstruction by “dishonest” means under § 371.
8           The evidence also demonstrates that Dr. Eastman likely knew that the plan was
9    unlawful. Dr. Eastman heard from numerous mentors and like-minded colleagues that his plan
10   had no basis in history or precedent. Fourth Circuit Judge Luttig, for whom Dr. Eastman
11   clerked, publicly stated that the plan’s analysis was “incorrect at every turn.” 251 Vice President
12   Pence’s legal counsel spent hours refuting each part of the plan to Dr. Eastman, including
13   noting there had never been a departure from the Electoral Count Act 252 and that not “a single
14   one of [the] Framers would agree with [his] position.” 253
15          Dr. Eastman himself repeatedly recognized that his plan had no legal support. In his
16   discussion with the Vice President’s counsel, Dr. Eastman “acknowledged” the “100 percent
17   consistent historical practice since the time of the Founding” that the Vice President did not
18   have the authority to act as the memo proposed. 254 More importantly, Dr. Eastman admitted
19   more than once that “his proposal violate[d] several provisions of statutory law,” 255 including
20   explicitly characterizing the plan as “one more relatively minor violation” of the Electoral
21   Count Act. 256 In addition, on January 5, Dr. Eastman conceded that the Supreme Court would
22   248
         Hammerschmidt v. United States, 265 U.S. 182, 188 (1924).
23
     249
         Cmt., 9th Cir. Model Crim. Jury Instr. 11.2 (revised Sept. 2020) (analogizing to “good faith” defenses for
     violations of tax code).
24
     250
         See supra Section III.B.3.a.i.(c), Corrupt intent.
     251
         Opp’n at 13 (quoting J. Michael Luttig (@judgeluttig), TWITTER (Sept. 21, 2021, 11:50 PM), perma.cc/ULW5-
25   NRRT).
     252
         Jacob Tr. 108.
26   253
         Opp’n Ex. N (Dkt. 160-16), Email from Greg Jacob to John Eastman at 3 (Jan 6, 2021, 2:14 pm EST).
     254
         Jacob Tr. 109.
27   255
         Id. at 127 (discussing memo written by Vice President’s counsel referencing January 4 meeting).
     256
         Opp’n Ex. N (Dkt. 160-16), Email from John Eastman to Greg Jacob (Jan. 6, 2021, 9:44 pm MST) at 2. See
28   also Jacob Tr. 128 (“So the memo lays out the four ways in which the proposal would violate provisions of the
     Electoral Count Act, and he acknowledged as much in our conversations [on January 5]”).

                                                          -38-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 39 of 44 Page ID
                                      #:4157



1    unanimously reject his plan for the Vice President to reject electoral votes. 257 Later that day,
2    Dr. Eastman admitted that his “more palatable” idea to have the Vice President delay, rather
3    than reject counting electors, rested on “the same basic legal theory” that he knew would not
4    survive judicial scrutiny. 258
5            Dr. Eastman’s views on the Electoral Count Act are not, as he argues, a “good faith
6    interpretation” of the law; 259 they are a partisan distortion of the democratic process. His plan
7    was driven not by preserving the Constitution, but by winning the 2020 election:
8            [Dr. Eastman] acknowledged that he didn’t think Kamala Harris should have that authority in 2024; he
             didn’t think Al Gore should have had it in 2000; and he acknowledged that no small government
9            conservative should think that that was the case. 260
10   Dr. Eastman also understood the gravity of his plan for democracy—he acknowledged “[y]ou
11   would just have the same party win continuously if [the] Vice President had the authority to just
12   declare the winner of every State.” 261
13           The evidence shows that Dr. Eastman was aware that his plan violated the Electoral
14   Count Act. Dr. Eastman likely acted deceitfully and dishonestly each time he pushed an
15   outcome-driven plan that he knew was unsupported by the law.
16           Overt acts in furtherance of the conspiracy
17           President Trump and Dr. Eastman participated in numerous overt acts in furtherance of
18   their shared plan. As detailed at length above, President Trump’s acts to strong-arm Vice
19   President Pence into following the plan included meeting with and calling the Vice President
20   and berating him in a speech to thousands outside the Capitol. 262 Dr. Eastman joined for one of
21   those meetings, spent hours attempting to convince the Vice President’s counsel to support the
22   plan, and gave his own speech at the Ellipse “demanding” the Vice President “stand up” and
23

24
     257
         Jacob Tr. 110 (recounting conversation between Dr. Eastman and Vice President’s counsel).
     258
         Id. at 117 (recounting call between Dr. Eastman and Vice President’s counsel).
25
     259
         Reply at 20.
     260
         Jacob Tr. 110 (recounting conversation between Dr. Eastman and Vice President’s counsel on January 5). See
26   also Opp’n Ex. N (Dkt. 160-16), Email from Greg Jacob to John Eastman (Jan. 6, 2021, 2:14 pm EST) at 3 (“I
     have run down every legal trail placed before me to its conclusion, and I respectfully conclude that as a legal
27   framework, it is a results oriented position that you would never support if attempted by the opposition, and
     essentially entirely made up.”).
28   261
         Jacob Tr. 110.
     262
         See supra Section III.B.3.a.i.(a), Attempts to obstruct.

                                                           -39-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 40 of 44 Page ID
                                      #:4158



1    enact his plan. 263
2               Based on the evidence, the Court finds that it is more likely than not that President
3    Trump and Dr. Eastman dishonestly conspired to obstruct the Joint Session of Congress on
4    January 6, 2021.
5

6               As the Court discusses below, 264 review of the eleven remaining documents reveals that
7    none further efforts to spread false claims of election fraud. Accordingly, the Court does not
8    reach whether President Trump likely engaged in common law fraud.
9                                    Actions in furtherance of crime or fraud
10              The Court now determines whether any of the remaining eleven documents were in
11   furtherance of the two crimes the Court found evidence of above, obstruction of an official
12   proceeding and conspiracy to defraud the United States by attempting to persuade Vice
13   President Pence to reject or delay electoral votes on January 6, 2021.
14              The crime-fraud exception applies when the “communications for which production is
15   sought are ‘sufficiently related to’ and were made ‘in furtherance of [the] intended, or present,
16   continuing illegality.’” 265 In a civil case, the burden of proof for the party seeking disclosure
17   under the crime-fraud exception is preponderance of the evidence, meaning more likely than
18   not. 266
19              “[T]he crime-fraud exception does not require a completed crime or fraud but only that
20   the client have consulted the attorney in an effort to complete one.” 267 The exception applies
21   even if the attorney does not participate in the criminal activity, and “and even [if] the
22   communication turns out not to help (and perhaps even to hinder) the client’s completion of a
23   crime.” 268 An attorney’s wrongdoing alone may pierce the privilege, regardless of the client’s
24

25

26   263
         Opp’n at 12 (quoting Eastman Speech).
     264
         See infra Section III.B.3.b, Actions in furtherance of crime or fraud.
27   265
         Napster, 479 F.3d at 1090 (quoting In re Grand Jury Proc. (Corp.), 87 F.3d at 381–83).
     266
         Id. at 1094–95.
28   267
         In re Grand Jury Proc. (Corp.), 87 F.3d at 381 (emphasis in original).
     268
         Id. at 382.

                                                           -40-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 41 of 44 Page ID
                                      #:4159



1    awareness or innocence. 269
2            Nine of the eleven documents were emails or attachments discussing active lawsuits in
3    state and federal courts. 270 They include drafting filings, conferring about oral arguments, or
4    planning future litigation strategy. While these suits might have dealt with claims of election
5    fraud, pursuing legal recourse itself did not advance any crimes, and the contents of the emails
6    are cabined to those narrow litigation purposes. As such, these nine emails were not in
7    furtherance of any of the offenses alleged by the Select Committee, so the crime-fraud
8    exception does not apply.
9            The tenth document is an email sent at 4:03 pm MST on January 6, 2021, during the
10   resumption of the Joint Session of Congress after the attack on the Capitol. 271 The email
11   responded to a request to participate in Dr. Eastman’s work on behalf of President Trump. 272
12   While the email discusses Vice President Pence’s refusal to reject or delay the electoral count,
13   the email was not “itself in furtherance” of the plan and thus does not fall within the crime-
14   fraud exception. 273
15           The eleventh document is a chain forwarding to Dr. Eastman a draft memo written for
16   President Trump’s attorney Rudy Giuliani. 274 The memo recommended that Vice President
17   Pence reject electors from contested states on January 6. This may have been the first time
18   members of President Trump’s team transformed a legal interpretation of the Electoral Count
19   Act into a day-by-day plan of action. The draft memo pushed a strategy that knowingly violated
20   the Electoral Count Act, and Dr. Eastman’s later memos closely track its analysis and proposal.
21   The memo is both intimately related to and clearly advanced the plan to obstruct the Joint
22   269
         See In re Sealed Case, 107 F.3d 46, 49 n.2 (D.C. Cir. 1997) (“[T]here may be rare cases . . . in which the
23   attorney’s fraudulent or criminal intent defeats a claim of privilege even if the client is innocent.”); In re
     Impounded Case (Law Firm), 879 F.2d 1211, 1213 (3d Cir. 1989) (“We cannot agree” that “the crime-fraud
24   exception does not apply to defeat the client’s privilege where the pertinent alleged criminality is solely that of the
     law firm”).
25
     270
         4553; 4793; 4794; 4828 (duplicate); 5097; 5101; 5113; 5412; 5719.
     271
         5424.
26   272
         The Court previously concluded that this earlier email, 5423, was not prepared in anticipation of litigation. See
     text accompanying note 172.
27   273
         In re Richard Roe, Inc., 68 F.3d 38, 40 (2d Cir. 1995) (“[T]he exception applies only when the court
     determines that the client communication or attorney work product in question was itself in furtherance of the
28   crime or fraud.” (emphasis in original)).
     274
         4708.

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     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 42 of 44 Page ID
                                      #:4160



1    Session of Congress on January 6, 2021. Because the memo likely furthered the crimes of
2    obstruction of an official proceeding and conspiracy to defraud the United States, it is subject to
3    the crime-fraud exception and the Court ORDERS it to be disclosed.
4                    4.      Substantial or compelling need exception
5            After concluding that one document falls within the crime-fraud exception, the Court
6    reviews the ten remaining protected documents, 275 which the Select Committee argues should
7    be disclosed based on its compelling need and inability to obtain the materials elsewhere. 276
8            All ten documents are ‘opinion’ work product because they include attorneys’ thoughts
9    and legal theories. Unlike fact-based work product, which may be disclosed, 277 opinion work
10   product “is virtually undiscoverable.” 278 A court may compel disclosure of opinion work
11   product only in the rare situation “when mental impressions are the pivotal issue in the current
12   litigation and the need for the material is compelling.” 279
13           Dr. Eastman argues that discovery of opinion work product is limited to when the
14   opposing party needs materials “to prepare its case,” so the exception cannot extend to
15   legislative needs. 280 The Court agrees that decisions applying this exception only involve
16   litigation. 281 However, it would be inconsistent to recognize the work product doctrine in the
17   legislative subpoena context without also recognizing the privilege’s exceptions. Given the
18   limited caselaw involving legislative subpoenas, the Court assumes that a legislative body
19   could have the requisite compelling need for disclosure of opinion work product.
20           The Select Committee claims that Dr. Eastman’s opinions “are directly at issue” because
21   he “was a central figure in the effort to encourage the former Vice President to reject the
22   275
         4553; 4793; 4794; 4828 (duplicate); 5097; 5101; 5113; 5412; 5424; 5719.
23
     276
         Opp’n at 35.
     277
         Torf, 357 F.3d at 906 (quoting Fed. R. Civ. P. 26(b)(3)(A)(ii)) (noting non-opinion work product may be
24   disclosed upon a showing of “substantial need” for the documents and “undue hardship [in obtaining] the
     substantial equivalent of the materials by other means”).
25
     278
         Republic of Ecuador v. Mackay, 742 F.3d 860, 869 n.3 (9th Cir. 2014) (quoting United States v. Deloitte LLP,
     610 F.3d 129, 136 (D.C. Cir. 2010)); Fed. R. Civ. P. 26(b)(3)(B).
26   279
         Holmgren v. State Farm Mutual Auto. Ins. Co., 976 F.2d 573, 577 (9th Cir. 1992) (emphasis added); see also
     Upjohn, 449 U.S. at 401–02 (noting that opinion work product is discoverable only upon “a far stronger showing
27   of necessity and unavailability by other means”).
     280
         Reply at 17 (quoting Fed. R. Civ. Proc. 26(b)(3)(A)(ii) (emphasis added)).
28   281
         See, e.g., Holmgren, 976 F.2d at 577 (“opinion work product may be discovered and admitted when mental
     impressions are at issue in a case and the need for the material is compelling.”).

                                                           -42-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 43 of 44 Page ID
                                      #:4161



1    electors from several states.” 282
2            However, review of the ten remaining documents shows that none are “pivotal” to the
3    Select Committee’s investigation. Nine of these include opinions and discussions about trial
4    strategy in ongoing lawsuits. 283 As discussed above, this litigation was a legitimate form of
5    recourse, and is not tied to the investigation’s core purpose, which is to “investigate and report
6    upon the facts, circumstances, and causes relating to the January 6, 2021, domestic terrorist
7    attack upon the United States Capitol.” 284
8            The tenth email includes Dr. Eastman’s thoughts on the evening of January 6 about
9    potential future actions given Vice President Pence’s refusal to reject or delay the electoral
10   count. 285 Cases that have found a “compelling need” involved situations where an attorney’s
11   bad faith was central to a claim or defense, making the attorney’s opinions critical evidence. 286
12   Although Dr. Eastman’s thoughts in this email pertain to the January 6 electoral count, these
13   thoughts are not analogously “pivotal” to the Select Committee’s investigation.
14           The Court reiterates its earlier statement that the Select Committee’s investigation is
15   “weighty and urgent.” 287 But the Court does not want to enable well-intentioned committees to
16   circumvent work product protection by using broad and urgent mandates, as has occurred in our
17   not-so-distant past. 288
18           Accordingly, none of these ten documents shall be disclosed based on compelling need.
19

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     282
         Opp’n at 36.
21   283
         4553; 4793; 4794; 4828 (duplicate); 5097; 5101; 5113; 5412; 5719.
     284
         H.R. Res. 503 § 3.
22   285
         5424.
23
     286
         Holmgren, 976 F.2d at 577 (“In a bad faith insurance claim settlement case, the “‘strategy, mental impressions
     and opinion of [the insurer’s] agents concerning the handling of the claim are directly at issue.’”) (quoting
24   Reavis v. Metro. Prop. & Liab. Ins. Co., 117 F.R.D. 160, 164 (S.D. Cal. 1987)); Handgards, Inc. v. Johnson &
     Johnson, 413 F. Supp. 926, 931 (N.D. Cal. 1976) (“The principal issue in the case at bar is the good faith of the
25   defendants in instituting and maintaining the prior patent litigation against plaintiff.”); United States v. McGraw-
     Hill Companies, Inc., No. 13-CV-00779, 2014 WL 8662657, at *6 (C.D. Cal. Sept. 25, 2014) (“[Defendant’s]
26   most salient defense is that the Government improperly selected it for prosecution in an effort to retaliate[.]”).
     287
         Order Denying Preliminary Injunction (Dkt. 43) at 12.
27   288
         See Watkins v. United States, 354 U.S. 178, 205–06 (1957) (“An excessively broad charter, like that of the
     House Un-American Activities Committee, places the courts in an untenable position if they are to strike a
28   balance between the public need for a particular interrogation [sic] and the right of citizens to carry on their affairs
     free from unnecessary governmental interference.”).

                                                               -43-
     Case 8:22-cv-00099-DOC-DFM Document 260 Filed 03/28/22 Page 44 of 44 Page ID
                                      #:4162



1           DISPOSITION
2           Dr. Eastman and President Trump launched a campaign to overturn a democratic
3    election, an action unprecedented in American history. Their campaign was not confined to the
4    ivory tower—it was a coup in search of a legal theory. The plan spurred violent attacks on the
5    seat of our nation’s government, led to the deaths of several law enforcement officers, and
6    deepened public distrust in our political process.
7           More than a year after the attack on our Capitol, the public is still searching for
8    accountability. This case cannot provide it. The Court is tasked only with deciding a dispute
9    over a handful of emails. This is not a criminal prosecution; this is not even a civil liability suit.
10   At most, this case is a warning about the dangers of “legal theories” gone wrong, the powerful
11   abusing public platforms, and desperation to win at all costs. If Dr. Eastman and President
12   Trump’s plan had worked, it would have permanently ended the peaceful transition of power,
13   undermining American democracy and the Constitution. If the country does not commit to
14   investigating and pursuing accountability for those responsible, the Court fears January 6 will
15   repeat itself.
16          With this limited mandate, the Court finds the following ten documents privileged:
17   4553; 4793; 4794; 4828; 5097; 5101; 5113; 5412; 5424; 5719. 289 The Court ORDERS Dr.
18   Eastman to disclose the other one hundred and one documents to the House Select Committee.
19

20          DATED: March 28, 2022
21
                                                                DAVID O. CARTER
22
                                                                UNITED STATES DISTRICT JUDGE
23

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28     Document 5113 is entirely included in document 5114. Dr. Eastman shall redact the portions of 5114 that
     289

     comprise document 5113 when disclosing the unprivileged portion of that document to the Select Committee.

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